Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 1 of 98

Exhibit 1
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 2 of 98

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE

LITIGATION MDL No. 1456
CIVIL ACTION: 01-CV-12257-PBS
Judge Patti B. Saris

THIS DOCUMENT RELATES TO

01-CV-12257-PBS AND 01-CV-339

AMENDED NOTICE OF RULE 30(B)(6) DEPOSITION

TO: ALL COUNSEL ON ATTACHED SERVICE LIST:

PLEASE TAKE NOTICE that the undersigned attorneys for Plaintiffs shall take the
deposition upon oral examination of a representative of each Defendant in this action who is
knowledgeable regarding the matters designated on Exhibit “A,” attached. These depositions

will being taken pursuant to Federal Rule of Civil Procedure 30(b)(6) and will be recorded by

stenographic and/or sound and visual means. The depositions will be take place as follows:

Deponent Date and Time Location

Abbott 10:00am. Within45daysor |§ The Wexler Firm LLP
on May 10, 2004 One N. LaSalle Street, Suite 2000
Chicago, IL 60602

Astra Zeneca 10:00am. Within45daysor | The Wexler Firm LLP
on May 11, 2004 One N. LaSalle Street, Suite 2000
Chicago, IL 60602

AMENDED NOTICE OF -1-
RULE 30(B)(6) DEPOSITION

1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13

Filed 08/04/04 Page 3 of 98

Amgen

Bristol Myers Squibb 10:00 a.m.

Baxter 10:00 a.m.
Immunex 10:00 a.m.
Schering Plough 10:00 a.m.
Aventis 10:00 a.m.
Dey 10:00 a.m.
Fujisawa 10:00 a.m.
Pharmacia 10:00 a.m.
Watson 10:00 a.m.
Novartis 10:00 a.m.
Boehringer 10:00 a.m.

10:00 a.m.

Within 45 days or
on May 12,2004

Within 45 days or
on May 12,2604!

Within 45 days or
on May 14, 2004

Within 45 days or
on May 17, 2004

Within 45 days or
on May 17, 2004

Within 45 days or
on May 17,2004

Within 45 days or
on May 18, 2004

Within 45 days or
on May 18, 2004

Within 45 days or
on May 18, 2004

Within 45 days or
on May 12, 2004

Within 45 days or
on May 12, 2004

Within 45 days or
on May 12, 2004

’ To the extent not covered by prior deposition.

AMENDED NOTICE OF
RULE 30(B)(6) DEPOSITION

1534.16 0043 DSC.DOC

Hagens Berman LLP
225 Franklin Street, 26" Floor
Boston, MA 02110

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1301 Fifth Avenue, Suite 2900
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Spector, Roseman & Kodroff
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Hagens Berman LLP
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Chicago, IL 60602

Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 4 of 98

Johnson & Johnson 10:00am. Within 45daysor Spector, Roseman & Kodroff
on May 19, 2004 1818 Market St., Ste 2500

Philadelphia, PA 19103
Pfizer 10:00am.  Within45daysor | Hagens Berman LLP
on May 19,2004 225 Franklin Street, 26" Floor
Boston, MA 02110
You are invited to attend and participate.
DATED: April 1, 2004 By__Steve W. Berman, signature on file

Thomas M. Sobol (BBO#471770)
Edward Notargiacomo (BBO#567636)
Hagens Berman LLP

225 Franklin Street, 26" Floor

Boston, MA 02110

Telephone: (617) 482-3700

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Kevin P. Roddy

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AMENDED NOTICE OF -3-
RULE 30(B)(6) DEPOSITION

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Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 5 of 98

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Piper & Associates

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COMMITTEE

AMENDED NOTICE OF ~4-
RULE 30(B\(6) DEPOSITION

1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 6 of 98

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Michael E. Criden

Hanzman & Criden, PA
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AMENDED NOTICE OF -5-
RULE 30(B)(6) DEPOSITION
1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 7 of 98

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AMENDED NOTICE OF -6-
RULE 30(B)(6) DEPOSITION

1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 8 of 98 .

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Damon Young

Lance Lee

Young, Pickett & Lee

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Tel: (903) 794-1303

Fax: 903-792-5098; 903-794-5098

ADDITIONAL ATTORNEYS FOR
PLAINTIFFS

AMENDED NOTICE OF -7-
RULE 30(BX(6) DEPOSITION

1534.16 0043 DSC.DOC
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EXHIBIT “A”
INSTRUCTIONS

All of the definitions from Plaintiffs’ Omnibus Requests For Production of Documents
Directed to All Defendants are incorporated herein by reference.

‘A WPID” refers to all of the drugs identified Appendix A to the AMCC.

“Spread” refers to the difference between AWP or any price upon which reimbursement
for a drug is based, on the one hand, and the actual or net price paid for a drug on the other hand.

Unless otherwise specifically stated, each of these Areas of Inquiry encompasses the

years 1991 through the present.

AREAS OF INQUIRY

1. The identity of documents describing the process by which You establish, state,
change or are otherwise directly or indirectly involved in setting the AWP, List Price, WAC,
Average Sales Price (“ASP”), actual sales price, contract price or any other price for each of
Your AWPIDs, and the names or job titles of all personnel involved in said process.

2. The identity of documents describing Your policies or practices concerning the
calculation, determination, dissemination, communication or publication of the AWP, List Price,
WAC, or any other price for all of Your drugs.

3. The identity of documents containing any definition of AWP, ASP, List Price of
WAC.

4. The identity of documents describing the process by which You decide to offer
any type of discount, rebate, incentive or penalty in connection with the purchase of any

AWPID, and the names or job titles of all personnel involved in said process.

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RULE 30(8)(6) DEPOSITION

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5. The identity of documents identifying all management personnel or management
committees responsible for directing, overseeing or coordinating any of the activities referenced
in items 1, 2 and 3 above.

6. The identity and nature of any regularly created documents which report, review,
comment upon or analyze any price stated or charged for any of Your AWPIDs.

7. The identity and nature of documents describing the method by which You
calculate or determine the average sales price for Your AWPIDs, including any determination or
rendering of actual transaction costs and/or revenues at any level of the distribution or processing
chains.

8. The identity and nature of any regularly created documents which report, review,
comment upon or analyze the profit from any of Your AWPIDs.

9. The identity and nature of any regularly created documents which report, review,
comment upon or analyze the average sales price, or actual sales prices for any of Your
AWPIDs.

10. The nature of Your electronic data or computer databases which relate directly or
indirectly to either: (i) the amount of sales, sales prices, discounts or average sales prices for all
of Your AWPIDs, and/or (ii) sales and marketing efforts and/or results.

11. The nature of all computer and e-mail systems or networks used by You for
internal communications among Your various offices, departments, sub-divisions and employees
and the availability of the electronic data created and/or stored on such systems or networks.

12. The nature of Your documents discussing, analyzing or marketing the Spread on

any of Your drugs.

AMENDED NOTICE OF -9-
RULE 30(B)(6) DEPOSITION
1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 11 of 98

13. The location of or identity of documents relating to the nature of Your efforts to
market, promote or tout the Spread on any of Your drugs, and the names or job titles of all
personnel involved in said efforts.

14. The nature of all documents comparing any price, rebate or incentive for any of
Your drugs with any price, rebate or incentive offered for a competing drug.

15. Any information related to any contention by You that the government had
knowledge of any pharmaceutical manufacturer’s practices and methodologies for setting the
AWP for any drug, without regard to time period.

16. The identity of documents regarding communications and agreements between
You and any PBM.

17. ‘The identity of documents regarding communications between You and any other
pharmaceutical manufacturer regarding: (a) definitions of AWP, ASP, List Price of WAC:

(b) calculation, determination, dissemination, communication or publication of AWP, List Price,
WAC or any other price; and (c) rebates, chargebacks, free samples or any other marketing
practice that an pharmaceutical manufactures contended was inappropriate, illegal, unethical,
fraudulent, or otherwise should be ceased.

18. The identity and nature of documents relating to any Government Investigation
concerning You or any of Your drugs, including your response to any request for information in
connection with any Government investigation and the identities or job titles of all personnel
involved with any Government Investigation.

19. The identity of documentation describing Your distribution channels and methods

and strategies for distributing each of Your AWPIDs.

AMENDED NOTICE OF -10-
RULE 30(B)(6) DEPOSITION

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20. | Your document and e-mail retention or destruction policies, and the steps you

have taken to preserve documents since this litigation began.

AMENDED NOTICEOF __ -ll-
RULE 30(B6) DEPOSITION

1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 13 of 98

CERTIFICATE OF SERVICE

I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy
of the foregoing PLAINTIFFS’ REPLY MEMORANDUM TO DEFENDANT-SPECIFIC
MEMORANDA RELATED TO PROPOSED CASE No 004 ORDER NO. 10 to
be served on all counsel of record electronically on 4 2004, pursuant to Section
D of Case Management Order No. 2.

—_—

- Steve W. Berman

HAGENS BERMAN LLP
1301 Fifth Avenue, Suite 2900
Seattle, WA 98101

(206) 623-7292

AMENDED NOTICE OF -12-
RULE 30(8)(6) DEPOSITION

1534.16 0043 DSC.DOC
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 14 of 98

Exhibit 2
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ohn Richard. Ereeberry 1545 7- PBS He eee l Filed 08/04/04 paviay 20, £904

1
1 HIGHLY CONFIDENTIAL
2 UNITED STATES DISTRICT COURT
3 ‘FOR THE DISTRICT OF MASSACHUSETTS
4 ------------ + ---------- = -- - == x
5 IN RE PHARMACEUTICAL INDUSTRY ) MDL No. 1456
6 AVERAGE WHOLESALE PRICE ) CIVIL ACTION:
7 LITIGATION ) 01-CV-12257-PBS
8 ) Judge Patti B. Saris
Q 9 --- ~~ ~~~ +--+ --- +--+ - x

THIS DOCUMENT RELATES TO )

10
01-CV-12257-PBS and 01-CV-339 )
11 ~ 22-2 eee x
12
13 THURSDAY, MAY 20, 2004
14
15 Deposition of JOHN RICHARD FREEBERRY, held

16 at the Law Offices of McCarter & English, 919 North
17 Market Street, Suite 1800, Wilmington, DE, before
18 Cindy Sebo of Spherion Deposition Services, Notary

19 Public in and for the State of Maryland.

_ oe seamen Henderson Legal / Spherion
(202) 220-4158
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 16 of 98

John Richard Freeberry Highly Confidential May 20, 2004
Wilmington, DE
14
1 MS. HARRIS: I can't guarantee you the
2 person is going to be able to testify about the
3 electronic mail systems.
4 MR. WEXLER: Who would be able to do
5 that? Do you have a witness lined up for that?
6 MS. FEGAN: Can we take a break,
7 please?
8 MR. WEXLER: Yes.
9 MR. WISE: This can't be news to you
10 guys, it can't be, based on these conversations.
11 MS. FEGAN: I thought he would know
12 what topics he was going to be designated on.
13 It's pretty clear.
14 MR. WISE: If you want to stop, we'll
15 certainly stop, Beth.
16 MS. FEGAN: I'm going to get the Rule.
17 (Recess.)
18 MR. WISE: I think we've reached an
19 understanding in our -- an understanding among i
20 counsel off the record.
21 Let me see if I can state it: It's
22 that Mr. Freeberry is being designated by

Henderson Legal / Spherion
(202) 220-4158
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John Richard Freeberry Highly Confidential May 20, 2004 -
Wilmington, DE
75

1 AstraZeneca as the 30(b) (6) on behalf of the

2 company, with expertise in the areas that he has

3 testified in which he has such expertise so far

4 this morning. And he's not being designated with

5 respect to any other area. - |

6 So I think he's also indicated in many,

7 if not all, of those other areas who he thinks

8 would be an appropriate designee of the company.

9 And we can pursue whether Plaintiffs want to have
10 depositions of all of those people or some of them
11 in the future.

12 With that understanding and the

13 understanding that we're here to answer any

14 questions for however -- you know, for the rest of
15 the day on any topic, to the extent Plaintiffs

16 want to ask him,.we will proceed.

17 BY MS. FEGAN:

18 Q I think where we left off, just to be
19 clear, I wanted to make sure that I understood

20 which topics you felt like you were the most

21 knowledgeable to testify on.

22 And so we're all on the same page as to

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Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 18 of 98

John Richard Freeberry Highly Confidential May 20, 2004
Wilmington, DE
76
1 what you're being designated -- I understand that

2 you're being designated as the 30(b) (6) for
3 AstraZeneca to testify regarding Topics 1, 2
4 and 3, except as to average sales price, actual

5 Sales price or contract prices.

6 Do you understand that, Mr. Freeberry?
7 A -Yes.
8 Q I also understand that you're being

9 designated to testify regarding Topics 5 and 6,
10 other than as to average sales price, actual sales

11 price or contract price.

12 Do you understand that, Mr. Freeberry?
13 A Yes.
14 Q And I believe that that's all; is that

15 correct? I apologize, I'm making you go through

16 these again. I want us all to be on the same

17 page.

18 (The witness reviews the document.)
19 THE WITNESS: Yes.

20 MR. WISE: Okay.

21 MS. HARRIS: Also, let me just note,

22 Topic 14 with respect to price.

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Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 19 of 98

John Richard Freeberry Highly Confidential May 20, 2004
Wilmington, DE
77

1 MS. FEGAN: You're right. I apologize.

2 BY MS. FEGAN:

3 Q Topic 14, with respect to price, but

4 not rebates and incentives?

5 A Let me just read it over to be sure.

6 Q Sure.

7 (The witness reviews the document.)

8 THE WITNESS: Yes.

9 MR. WISE: One other, maybe, perhaps
10 additional, 17, I think he testified that there
11 would be no such person.

12 MS. FEGAN: Weli, he testified that he
13 didn't do any research to determine whether there
14 would be any such person or whether, in fact,

15 there had been communications. We can

16 certainly -- Sok

17 MR. WISE: We can have an argument

18 about that later.

19 MS. FEGAN: -- deal with that later,
20 particularly since we know there were.

21 MS. HARRIS: I'11 say that he is

22 designated with respect to 17(a) and (b),

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John Richard Freeberry Highly Confidential May 20, 2004
Wilmington, DE
78
1 discussions with pharmaceutical manufacturers on
2 those two topics.
3 BY MS. FEGAN:
4 Q Are you aware of any communications
5 between AstraZeneca and any pharmaceutical
6 manufacturer regarding Topics (a) or (b) in
7 Number 17?
8 A No.
9 Q Did you do any research or
10 investigation to determine whether there had been
11 any communications between AstraZeneca and any
12 other pharmaceutical manufacturer regarding
13. Topics {a) and (b)? |
14 A No.
15 Q What did you do to prepare for this
16 deposition?
17 A I met with counsel here yesterday
18 afternoon for three hours or so.
19 Q When you say "counsel here," who are
20 you referring to?
21 A Everybody from Stuart on down
22 (indicating) .

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(202) 220-4158
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 21 of 98

John Richard Freeberry Highly Confidential May 20, 2004
Wilmington, DE

212
1 talking about, being well-rated in that regard.
2 MS. PEGAN: Okay. Can we take a break?
3 MR. WISE: Sure.
4 (Recess. )
5 BY MS. FEGAN:
6 Q Mr. Freeberry, we talked a little bit
7 about different times of the merger and who
8 reported to you and who you reported to.
9 Who was responsible prior to the time
10 that Zeneca merged in -- who was responsible at
11 Zeneca in an equivalent position to yours?
12 . A There was not one that I'm aware of.
| 13 Q At Zeneca premerger, are you
14 knowledgeable about how prices were set?
15 A No.
16 — -.Q. Do you know who would be knowledgeable

17 about that?

18 A With Zeneca?
19 Q Yes.
20 A A former Zeneca executive. I don't

21 know who that might be. I don't know if there's

22 any around or not.

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Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 22 of 98

Exhibit 3
__ Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 23 of 98
Jeffrey L. Alverson Highly Confidential une 29, 2004

Wilmington, DE

1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE DISTRICT OF MASSACHUSETTS

3
In Re: PHARMACEUTICAL : MDL DOCKET NO.

4 : CIVIL ACTION #
INDUSTRY AVERAGE WHOLESALE : 01CV12257-PBS

5
PRICE LITIGATION : HIGHLY CONFIDENTIAL

-

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THIS DOCUMENT RELATES TO:

8
ALL ACTIONS
Q  —------ eH ee ee ee ee ere
10
11 VOLUME I
12 30(b) (6) Deposition of AZTRAZENECA, taken

13 by and through its corporate designee, JEFFREY lL.

14 ALVERSON, taken pursuant to notice at the law offices
15 of Morris, Nichols, Arsht & Tunnell, 1201 North Market
16 Street, 17th Floor, Wilmington, Delaware, beginning at
17 9:31 a.m., on Tuesday, June 29, 2004, before Julie H.
18 Parrack, Registered Merit Reporter and Notary Public,

19 there being present:

Spherion Deposition Service
800-362-2520
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 24 of 98

Jeffrey L. Alverson Highly Confidential , June 29, 2004
Wilmington, DE
4
1 JEFFREY L. ALVERSON,
2 the deponent herein, having first been duly
3 sworn on oath, was examined and testified as
4 follows:

5 BY MR. WEXLER:
6 Q. Can you state your full name for the record,
7 please?
8 A. Jeffrey Lee Alverson.
9 MR. WISE: Could I interrupt and just make
10 a couple preliminary points?
11 MR. WEXLER: Depends what they are.
12 - MR. WISE: Listen and then give me
13 permission afterward, if you will.
14 MR. WEXLER: Okay.
15 MR. WISE: First, on behalf of
16 AstraZeneca, we would like to designate this
17 transcript that's to be created today as highly
18 confidential under the protective order in the case.
19 And presumably the court reporter knows how to so
20 indicate on the transcript that gets created, highly
21 confidential pursuant to protective order.

22 Secondly, I will just state for the record

Spherion Deposition Service
800-362-2520
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 25 of 98

Jeffrey L. Alverson Highly Confidential June 29, 2004
Wilmington, DE
5
1 at the outset that Mr. Alverson is being tendered as a
2 witness this morning in response to the plaintiffs'
3 30(b) (6) deposition notice, and specifically to
4 address the items in that notice that were not
5 addressed by our previous witness, Mr. Freebery. So
6 it is our intent Mr. Alverson is being designated as a
7 ° 30(b) (6) witness for the remainder of all topics in
8 that 30 (b) (6) notice. Okay?
9 MR. WEXLER: Thank you.
10 MR. WISE: Thanks.
11 BY MR. WEXLER:
12 Q. Okay. Where are you employed?
13 A. Astrazeneca.
14 Q. How long have you worked there?
15 A. I have been with -- started with Astra/Merck
16 six and a half years ago and through the mergers --
17 there were two mergers, Astra merger with Astra,
18 become Astra, then Astra with Zeneca. to become
19 Astrazeneca.
20 Q. In preparation for today's deposition did you
21 do anything to inform yourself about the matters in
22 the deposition notice that go back to 1991?

Spherion Deposition Service
800-362-2520
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 26 of 98

Jeffrey L. Alverson Highly Confidential June 29, 2004
Wilmington, DE
6
1 A. I did things to make myself more aware of areas
2 of the inquiry that I wasn't -- want to make sure I
3 had all my facts. Back to 1991, no, sir, I did not.
4 Q. How far back did you go?
5 A. I didn't do anything relative to a time. I did
6 it relative to an area of knowledge. JI don't know if
7 I'm answering your question correctly. But I didn't
8 look --
9 Q. How about 1992?
10 A. Once again, my information was relative to
11 areas of knowledge, not a time frame of that area of
12 knowledge.
13 Q. What did you do?
14 A. Talked to different individuals in different
15 areas to make sure that information I had in my head
16 was correct, or fill in parts that I might be missing
17 for areas that were not germane to my day-to-day
18 activity.
19 Q. Who did you talk to?
20 A. Talked to Joe Skupen, who is in our contact
21 operations department. I talked to Jim Brady, who is
22 in our managed care finance department. Paul Maillet,

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15
1 Q. All right. And are you prepared to speak to

2 these areas of inquiry from 1991 to the present?

3 A. I am able to testify to them as it is
4 currently.
5 Q. Do you know of anyone at AstraZeneca, or who

6 used to be at AstraZeneca, who could have informed you
7 on any of these topics prior to the present, or with

8 respect to the time period prior to the present?

9 A. No, I do not.

10 Q. Did you tell counsel or anyone that you could

11 not testify back to the 1991 time period?

12 A. Yes.

13 Q. Who did you tell?

14 A. Outside counsel.

15 Q. What did they say?

16 A. Well, I'd like to clarify, in that as we

17 discussed these issues, I just made mention of the

18 fact that I was with Astra/Merck before this, and only
19 joined the company six and a half years ago. So that,
20 that is how I expressed that I could not testify back

21 to '91. But time didn't come up a lot in my

22 preparation for the deposition. It was more of

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16
1 knowledge of the areas of inquiry, irrelevant to time.
2 Q. When did you start at AstraMerck?
3 A. six and a half years ago.
4 Q. Do you know a precise date?
5 A. October lst, what, 1999? Is that right, '98?
6 I'm horrible with years. But whatever six and a half

7 years backwards goes.

8B Q. Okay. Where did you work before then?

9 A. I was with an HMO in Alabama.

10 Q. What HMO?

11 A. Heaith Partners Southeast .

12 Q. What was your position?

13 A. Vice President of Health Services.

14 Q. ‘What were your duties?

15 A. I was the executive in charge of medical
16 services, pharmaceutical services, physician

17 credentialing; tertiary medical services that were

18 provided, such as lab, others. Basically if it was
19 relative to the PMPM cost of the HMO, it was under my
20 purview.

21 Q. What's PMPM cost?

22 A. Per-member-per-month cost.

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1 didn't tell you anything?
2 A. Right.
3 Q. About that or --~
4 A. When we went over this issue, issue 15, she did i
5 not make me aware of anything else. In other words, I
6 didn't know of anything before I taiked to her and I
7 still don't know of anything.
8 MR. WISE: I think you're misremembering.
9 THE WITNESS: Maybe I don't know.
10 MS. FEGAN: He said maybe you're
11 misremembering.
12 MR. WISE: I think maybe you're
13 misremembering the conversation.
14 MR. WEXLER: Do you think that's a
15 coaching technique?
16 MS. HIGGINS: We're trying to help you.
17 MR. WISE: There’ are 20 different
18 paragraphs. It's been a long day, you know.
19 A. I will tell you that at this point in time, I
20 don't remember.
21 MR. WEXLER: All right. Why don't we take
22 a break, and we're going to go look through our

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Exhibit 4
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE } MDL No. 1456

LITIGATION )
Master File No. 01-CV-12257-PBS
) Judge Patti B. Saris

This Document Relates to )

ALL ACTIONS.

DECLARATION OF KENNETH A, WEXLER
PURSUANT TO LOCAL RULE 37.1

I, Kenneth A. Wexler, certify that I complied with Local Rule 37.1 as follows:

1. Tam one of the Plaintiffs’ lawyers in the above-captioned case. I personally have
been responsible for engaging in discovery conferences with counsel for
AstraZeneca.

2. On July 26, 2004, Elizabeth Fegan and I conducted a discovery conference by
telephone with AstraZeneca’s counsel, Scott Wise and Kimberley Harris.

3. First, AstraZeneca asked that we reduce the number of AstraZeneca witnesses that
were listed in a recent Notice of Deposition. I stated that the seven witnesses
noticed for deposition had each been identified as persons with knowledge of
relevant issues at the 30(b)(6) depositions that we had conducted of AstraZeneca.

4, Next, we discussed plaintiffs’ position that AstraZeneca had failed to fully
comply with its obligations pursuant to Rule 30(b)(6). 1 stated that neither of the

witnesses proffered by AstraZeneca was able to testify for the entire period from
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1991 to the present (“Relevant Period”), Therefore, I requested that AstraZeneca
designate a witness who was knowledgeable or would make himself
knowledgeable about the 30(b)(6) topics for the entire Relevant Period.

5. In response, one of defendant’s attorneys, Scott Wise, said that he was not aware
of what AstraZeneca’s obligations were to produce a witness who could testify for
the entire Relevant Period. I responded, in part, that Mr. Wise should have
researched his obligations and produced witnesses who could testify for the entire
Relevant Period, and that this should have been done with the 45-day parameters
required by CMO 10.

6. Mr. Wise said that AstraZeneca’s obligations had to end at some point. Further,
when I asked him directly, Mr. Wise admitted that he had not made any effort to
locate any person who could testify to matters for the period 1991-1997.

7. When I expressed my belief that AstraZeneca had failed to fulfill its obligations
under Rule 30(b)(6), Mr. Wise indicated that he did not believe that this meet and
confer was going to be productive and hung up on us.

8. Because Mr. Wise hung up on us, we were not able to raise the remainder of the

discovery issues that had not yet been discussed.

Date: August?_, 2004

AL

Kenneth A. Wexler

—_—
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Exhibit 5
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

01-CV-12257-PBS AND 01-CV-339

)
AVERAGE WHOLESALE PRICE ) MDLNo. 1456
LITIGATION )
) CIVIL ACTION: 01-CV-12257-PBS
)
THIS DOCUMENT RELATES TO Judge Patti B. Saris
)

PLAINTIFFS' OMNIBUS REQUESTS FOR PRODUCTION AND INTERROGATORIES
TO DEFENDANTS ABBOTT, AMGEN, AVENTIS, BAXTER, BAYER, BOEHRINGER,
BRAUN, DEY, FUJISAWA, NOVARTIS, PFIZER, PHARMACIA, SICOR, TAP AND
WATSON AND TO ALL OTHER DEFENDANTS WITH RESPECT TO DRUGS

THAT WERE NOT PREVIOUSLY SUBJECT TO DISCOVERY

Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and LR D. Mass.
26.5 and 34.1, and pursuant to case management orders of this Court including the March 25,
2004 Order, the plaintiffs hereby request that each defendant produce the documents requested
herein in compliance with the March 25, 2004 Order.

Prior to the Court’s March 25, 2004 Order, several defendants commenced production for
specific drugs pursuant to prior document requests. This Omnibus Request does not seek
production of documents to the extent that such documents were both previously requested and
actually produced by a defendant.

I, DEFINITIONS

1. “Agreement” means a contract, arrangement or understanding, formal or informal,
oral or written, between two or more persons.

2. “All documents” means every document and every non-identical copy known to
you and every such document or writing which you can locate or discover by reasonably diligent
efforts, including, but not limited to, documents now in the possession, custody or control of a
defendant, its merged or acquired predecessors, its former and present directors, officers,
counsel, agents, employees and/or persons acting on its behalf.

3. “AMCC” means the Amended Master Consolidated Complaint.

4. “AMP” or “Average Manufacturer Price” shall have the meaning set forth in 42
U.S.C. § 13961-8(k)(1).

5. “Any” means one or more.

6. “ASP” means average sales price.
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7. “AWP” means the average wholesale price reported to and/or reported by an
industry trade publication.

8. “AWPID” means any of the drugs identified in Appendix A to the AMCC and,
pursuant to Case Management Order No. 10 dated March 25, 2004, includes all NDC’s for that
drug, including NDC’s not in the AMCC.

9. “Best Price” shall have the meaning ascribed to that term pursuant to 42 U.S.C.
§ 1396r-8(c)(1)(C).

10. “CMS” means the Centers for Medicare and Medicaid Services.

11. “Communication” means the transmittal of information (in the form of facts,
ideas, inquiries, or otherwise).

12. “Concerning” means referring to, describing, evidencing, or constituting.

13. “Covered Drugs” means pharmaceuticals that are reimbursed under Title XVIII of
the Social Security Act, 42 U.S.C. § 1395 et seq.

14. “Defendant” refers to any of the defendants in the AMCC, its officers, directors,
employees, partners, corporate parent, subsidiaries, or affiliates. This definition is not intended
to impose a discovery obligation on any person who is not a party to the litigation.

15. “Document” is defined to be synonymous in meaning and equal in scope to the
usage of this term in Fed.R.Civ.P. 34(a). A draft or non-idential copy is a separate document
within the meaning of this term. The term is used in the broadest possible sense and means
without limitation, any written, printed, typed, photostated, photographed, recorded or otherwise
reproduced or stored communication or representation, whether comprised of letters, words,
numbers, data, pictures, sounds or symbols, or any combination thereof. This definition includes
copies or duplicates of documents contemporaneously or subsequently created which have any
non-conforming notes or other markings. Without limiting the generality of the foregoing,
“document” includes, but is not limited to, correspondence, memoranda, notes, records, letters,
envelopes, telegrams, messages, studies, analyses, contracts, agreements, working papers,
accounts, analytical records, reports and/or summaries of investigations, trade letters, press
releases, comparisons, books, calendars, diaries, articles, magazines, newspapers, booklets,
brochures, pamphlets, circulars, bulletins, notices, drawings, diagrams, instructions, notes of
minutes of meetings or of other communications of any type, including inter-office and intra-
office communications, electronic mail/messages and/or “e-mail,” electronically stored telephone
messages and/or “voice-mail,” questionnaires, surveys, charts, graphs, photographs, phonograph
recordings, films, tapes, disks, data cells, print-outs of information stored or.-maintained by
electronic data processing or word processing equipment, all other data compilations from which
information can be obtained (by translation, if necessary, by you through detection devices into
usable form), including, without limitation, electromagnetically sensitive storage media such as
floppy disks, hard disks and magnetic tapes and any preliminary versions, as well as drafts or
revisions of any of the foregoing, whether produced or authored by you or anyone else.

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16. “EAC” or “Estimated Acquisition Cost” shall have the meaning ascribed to that
term pursuant to 42 C.F.R. § 447.301.

17. “Government Investigation” refers to any ongoing or closed investigation
conducted by the Commerce, Energy and/or Ways and Means Committees of the United States
Congress, the United States Department of Justice, the United States General Accounting Office,
Federal Trade Commission, the Office of the United States Inspector General, the United States
Department of Health and Home Services, or any other federal, state or local governmental entity
without regard to time period.

18. “Government payor” means any federal or state government entity or program

that reimburses Providers for drugs or health care services, including but not limited to CMS,
Medicare, and Medicaid.

19. “Identify”: When referring to a person, “to identify” means to give, to the extent
known, the person’s full name, present or last known address, and, when referring to a natural
person, the present or last known place of employment. Once a person has been identified in
accordance with this subparagraph, only the name of that person need be listed in response to
subsequent discovery requesting the identification of that person.

20. “Identify”: When referring to documents, “to identify” means to give, to the
extent known, the

(a) type of document;

(b) = general subject matter;

(c) date of the document; and

(d) author(s), addressee(s), and recipients(s).

21. “Independent Practice Association” means any organized group of providers
whose members provide health care to any participant, beneficiary or patient.

22. “MAC” means the maximum allowable cost, and includes the meaning ascribed
to that term pursuant to 42 C.F.R. § 442.332.

23. “Manufacturer” means a company that manufactures pharmaceutical products,
including, without limitation, AWPIDs.

24. “Medicare,” “Medicare Program” or “Medicare Part B” means the government

reimbursement system for prescription pharmaceuticals under Title XVIII of the Social Security
Act, 42 U.S.C. § 1395, et seq.

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25. “Meeting” means any discussion between two or more persons either in person or
telephonically.

26. “Participant” and “Beneficiary” means a person for whom a health plan or health
and welfare fund provides any medical or health insurance benefit.

27. “PBM” means a pharmacy benefit manager.

28. “Person” means any natural person or any business, legal, or governmental entity
or association.

29. “Price” means any measure for the charging, payment or reimbursement of a
drug, including but not limited to actual wholesale price, AMP, ASP, AWP, Best Price, direct
price, estimated acquisition cost, list price, net wholesale price or other measure, comparison,
estimate, benchmark or computation of price, and includes prices both with or without discounts,
rebates or other incentives affecting the cost of the drug.

30. “Private payor” means any non-government entity or program that reimburses
Providers for drugs or health care services, including but not limited to health insurance
companies, health maintenance organizations, preferred provider organizations, self insurance
plans, health plans, unions, and welfare and benefit funds.

31. “Provider” means any physician or entity that provides health care to any
Participant or Beneficiary.

32. “Publisher” means an entity that publishes a listing of pharmaceutical prices, and
includes publications identified in Health Care Financing Administration Program Memorandum
AB-99-63 and includes First DataBank, Red Book, Blue Book and Medispan.

33. “Relating” means concerning or referring to, consisting of, involving, regarding
or connected with the subject matter of the request.

34. “State the Basis.” When an interrogatory calls upon a party to “state the basis” of
or for a particular claim, assertion, allegation, or contention, the party shall:

(a) _ identify each and every document, (and, where pertinent, the section, article, or
subparagraph thereof), which forms any part of the source of the party’s information regarding
the alleged facts or legal conclusions referred to by the interrogatory;

(b) identify each and every communication which forms any party of the source of
the party’s information regarding the alleged facts or legal conclusions referred to by the
interrogatory;

(c) State separately the acts or omissions to act on the part of any person (identifying
the acts or omissions to act by stating their nature, time and place and identifying the persons
involved) which form any part of the party’s information regarding the alleged facts or legal
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conclusions referred to in the interrogatory; and

(d) _ state separately any other fact which forms the basis of the party’s information
regarding the alleged facts or conclusions referred to in the interrogatory.

35. “Third Party Administrator” means any entity that provides administrative
services to any health plan or health and welfare fund relating to any medical benefit provided to
any participant or beneficiary.

36. “WAC” means wholesale acquisition cost or the list prices for sales by
manufacturers to wholesalers.

37. “Wholesaler” means any entity that purchase AWPIDs from a manufacturer and
resells such drugs to any other entity.

38. “You” or “Your” means the Defendant responding to these requests.
Il. RULES OF CONSTRUCTION

1. All/Each — The terms “all” and “each” shall be construed as meaning either all
and each as necessary to bring within the scope of the discovery request all responses that might
otherwise be construed to be outside its scope.

2. And/Or — The connectives “and” and “or” shall be construed either disjunctively
and conjunctively as necessary to bring within the scope of the discovery request all responses
that might otherwise be construed to be outside its scope.

3. The use of the singular form of any word shall include the plural and vice versa.
4, The masculine gender includes the feminine.
I. INSTRUCTIONS

1. Control. A document shall be deemed to be in your control if you have the right
to secure the document or copy thereof from another person or public or private entity having
possession or custody thereof. If any otherwise responsive document was, but is no longer, in
existence or in your possession, custody or control, or has been lost, discarded or destroyed, said
document shall be identified as completely as possible including, but not limited to, the
following information:

(a) _ the date of disposal or disposition from your possession, custody or

control;

(b) the manner of disposal or disposition from your possession, custody or
control;

(c) the reason for disposal or disposition from your possession, custody or
control;
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(d) _ the person authorizing disposal or disposition from your possession,
custody or control;

(e) the document’s current or last known custodian;

(f) the circumstances surrounding the document’s disposition from your
possession, custody or control;

(g) the generic category of the document, e.g., memo, letter, computer print-
out, etc.;
(h) _ the type(s) of information contained in the document; and

(a) the identity of all persons having knowledge or who had knowledge of the
contents of the document.

2. All Documents. Unless otherwise indicated, the documents to be produced
include all documents prepared, sent, dated or received, or those which otherwise came into
existence at anytime during the relevant period described herein.

3. Objections.

(a) | Where an objection is made to any document request under Fed. R. Civ. P.
34, the objection shall state with specificity all grounds. Any ground not stated in an objection
within the time provided by the Federal Rules of Civil Procedure, or by the Court’s order, or
any extensions thereof, shall be waived.

(b) Where a claim of privilege is asserted in objecting to any document
demand, or sub-part thereof, and an answer is not provided on the basis of such assertion:

(i) the attorney asserting the privilege shall in the objection to the
document demand, or sub-part thereof, identify the nature of the privilege (including work
product) that is being claimed and if the privilege is being asserted in connection with a claim or
defense governed by state law, indicate the state’s privilege rule being invoked; and

(ii) the following information shall be provided in the objection, unless
divulgence of such information would cause disclosure of the allegedly privileged information:

(A) for documents: (1) the type of document; (2) general
subject matter of the document; (3) the date of the document; and, (4) such other information as
is sufficient to identify the document for a subpoena duces tecum, including, where appropriate,
the author of the document, the addressee of the document, and, where not apparent, the
relationship of the author and addressee to each other;
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(B) for oral communications: (1) the name of the person
making the communication and the names of persons present while the communication was
made and, where not apparent, the relationship of the persons present to the person making the

communication; (2) the date and the place of communication; and, (3) the general subject matter
of the communication.

4, Non-Objected Sub-Parts. Notwithstanding the assertion of any objection to
production, any document to which an objection is raised containing non-objectional subject
matter which is relevant and material to a request must be produced, but that portion of the
document for which the objection is asserted may be withheld or redacted provided that the
above-requested information is furnished.

5. Continuing Duty. This request is continuing and all documents coming into your
possession, custody or control which you would have been required to produce had they been
available at an earlier time shall be produced forthwith in accordance with the Federal Rules of
Civil Procedure.

6. Entire Document. Each document requested herein is requested to be produced in
its entirety and without deletion or excisions, regardless of whether you consider the entire
document to be relevant or responsive to these requests. If you have redacted any portion of a
document, stamp the word “redacted” on each page of the document which you have redacted.
Redactions should be included on the privilege log described in Instruction 3.

7. Each Def it Separate. The fact that a document is produced by one defendant
does not relieve any other defendant of the obligation to produce his or its copy of the same
document, even if the two documents are identical in all respects.

8. Originals and Non-Identical Copies. In producing documents, you are requested
to produce the original of each document requested together with all non-identical copies and

drafts of that document. If the original of any document cannot be located, a copy shall be
provided in lieu thereof, and shall be legible and bound or stapled in the same manner as the
original.

9. Container Intact. All documents shall be produced in the file folder, envelope or
other container in which the documents are kept or maintained by you. If, for any reason, the
container cannot be produced, produce copies of all labels or other identifying marks.

10. Source Identifiable. Documents shall be produced in such fashion as to identify
the department, branch or office in whose possession it was located and, where applicable, the

natural person in whose possession it was found and the business address of each document’s
custodian(s).

11. Don’t Separate Attachments. Documents attached to each other should not be
separated.
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12. _—_ Electronic Availability. Any documents available in an electronic format shall be
so provided in that format, i.e., in an identical, usable electronic format. If issues regarding
compatibility of computer systems and software arise, the producing parties shall confer to
resolve the matters. In producing documents consisting of electronically stored data in machine
readable form in response to any document request, provide such data in a form that does not
require specialized or proprietary hardware or software. Data files typically should be in
sequential format, also known as ASCII files or flat files, with the data fields in fixed-column
positions. For each data file provided, the following information should be included: a record
layout, a short narrative description of the contents of the file, translation of any coded fields, the
number of records in the file, and a printout of the first 100 records in report format. A record
layout must contain the following pieces of information: name of the field, starting and ending
position in the record, length of the field, and characteristics of the field (e.g., packed decimal,
zoned decimal, alphanumeric). The magnetic media should be in the most efficient, transferable
form. Data typically can be accepted in either ASCII or EBCDIC format. Do not convert the
data between ASCII and EBCDIC formats. The record length, blocksize and tape density must
be provided. The tapes should be written with generic copy utilities rather than backup programs
from a specific operating system. Where multiple magnetic media are necessary, recreation of
the entire data must be enabled. For example, where PC files are too large for one diskette, DOS
BACKUP disk sets will be acceptable so long as they are accompanied by backup listings.
Backup listings may be hard copy or ASCII files on non-backup diskettes. A backup listing must
provide the path name necessary to individually restore each file in the backup. Compression
utilities are acceptable so long as the utility is provided and such provision does not violate
licensing or copyright laws.

13. Don’t Alter Contents. No watermarks, stamps of “confidential” or the like shall
be on the text or other contents of a document and (if the parties agree to production of
photocopies in lieu of originals as requested by this pleading) no reduction of the size of an
original document shall be made.

14. Reference Documents. Documents not otherwise responsive to this discovery
request shall be produced if such documents mention, discuss, refer to, or explain the documents
which are called for by this discovery request, or if such documents are attached to documents
called for by this discovery request and constitute routing slips, transmittal memoranda, or
letters, comments, evaluations or similar materials.

IV. DRUGS AT ISSUE
1. “Class A drugs” means all physician or other provider-administered AWPIDs
and all other AWPIDs that are, or at any time during the relevant period were, coverable under
Medicare Part B.
2. “Class B drugs” are all other AWPIDs.

3. “All Classes” or “All Drugs” means all drugs identified in the AMCC.
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V. RELEVANT TIME PERIOD

The relevant period of these document requests, unless otherwise indicated, shall be from
January 1, 1991, to the date of production and shall include all documents and information which
relate in whole or in part to such period, or to events or circumstances during such period, even
though dated, prepared, generated or received prior or subsequent to that period.

VI. REQUESTS FOR PRODUCTION

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1. All documents sufficient to identify your policy or practice of document retention,
destruction, disposal or preservation during the relevant time period.

2. Ali current and historical organizational charts for all of your sales, marketing and
pricing departments or divisions.

3. Any and all company, organizational and policy information in its entirety,
including but not limited to corporate policy and procedure manuals, and policy memoranda.

4, Documents sufficient to identify your electronic mail, document management and
other automated information systems.

5. Documents sufficient to identify your electronic mail retention policies.

6. Documents evidencing steps were taken by you (if any) from January 1, 2001 to
the present to insure that discoverable information with respect to average wholesale price
litigation is not destroyed or otherwise made unavailable.

7. Documents sufficient to identify your policies and procedures concerning the
back-up of data for your financial and your marketing, sales and promotion divisions, including
but not limited to, the frequency of back-ups, all software and hardware used to perform back-
ups, and all media onto which data is backed-up.

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8. All documents received from or provided to any trade association (such as the
Pharmaceutical Research and Manufacturers of America), and any of its organizational
subcommittees, including meeting agendas and minutes, concerning (i) Medicare reimbursement
for drugs and/or the use of AWP in the reimbursement process; (ii) publications identified in
Health Care Financing Administration Program Memorandum AB-99-63, including the Red
Book, Blue Book, and Medispan (“pharmaceutical industry publications”); or (iii) a Government
Investigation or inquiry as to the use of AWP in the reimbursement process.
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Category 3: Governmental Investigations; Litigation

9. All documents produced by you, whether voluntarily or involuntary, in any
governmental investigation or inquiry concerning the use of AWP.

10. All documents relating to any legal proceeding (by country, court, caption, case
number, etc.), including but not limited to court hearings, legislative hearings, mediations or
arbitrations, in which you were a party or witness, regarding any allegations relating to AWPs.

11. _—— All affidavits, declarations, depositions, or other written statements, including
drafts, provided by you regarding any allegations relating to the use of AWP.

Category 4: Communications With Governmental Entities

12. All documents created by or received from CMS, the United States Department of
Health and Human Services, the Health and Human Services Office of the Inspector General, the
General Accounting Office, Congress or any other federal institution, agency, department, or
office concerning prices for prescription drugs.

13. All documents provided to CMS, the United States Department of Health and
Human Services, and Department of Health and Human Services Office of the Inspector
General, the General Accounting Office, Congress, or any other federal institution, agency,
department, or office concerning the price of any AWPID.

Category 5:_AWPs and Pricing Related

14. —_ All documents concerning any definition or meaning of AWP, including
documents discussing how you or others define AWP.

15. All documents discussing how the AWP has been or is currently determined for
any AWPID.

16. _As to each of your AWPIDs, all documents concerning any actual, proposed, or
prospective AWP announcements, changes or price lists, including the methodology and
procedures used by you in considering whether to increase or decrease the AWP of each
AWPID.

17. _ As to each of your AWPIDs, all documents concerning any actual, proposed or
prospective price announcement, price change or price list, including the methodology and

procedures used by you in considering whether to increase or decrease the price for each
AWPID.

18. As to Class A drugs only, all sales-level detailing reports where AWPs,
reimbursement based on AWPs, or the prices for AWPIDs was discussed. (Class A Drugs)

19. As to Class A drugs only, all sales-level detailing reports where price, discounts,

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rebates, price concessions, forgiveness of debt, free samples, educational grants or other
remuneration were discussed with a purchaser or potential purchaser of any of your AWPIDs.

20. All documents, including organizational charts, that describe or list the
individuals responsible for determining the price for each AWPID.

21. All documents, including organizational charts, that describe or list the
individuals responsible for determining the price for each AWPID.

22. ‘For each of your AWPIDs, all documents concerning the “product market,” as
defined in the 1992 Department of Justice and Federal Trade Commission Horizontal Merger
Guidelines, in which each AWPID competes including, but not limited to, all documents
that: (a) discuss, address, concern, regard, or reflect products that have a significant cross-
elasticity of demand, or that are reasonably substitutable for, interchangeable with, or close
therapeutic equivalents and/or (b) discuss, address, concern, regard, or reflect whether, and to
what extent, the marketing, pricing, and/or sale of a drug other than your AWPID has caused, or
could or might cause, physicians, consumers, and other individuals or entities to terminate or
reduce their purchase or use of your AWPID.

23. For each of your AWPIDs, all documents concerning the “geographic market” or
markets in which the AWPID competes including, but not limited to, all documents that (a)
discuss, concern, regard, or reflect the geographic area within which the AWPID is marketed,
and (b) discuss, concern, regard or reflect the area within which you and your competitors view
themselves as competing with respect to the AWPID.

24. For each of your AWPIDs, all documents concerning your strategic and
matketing plans including, but not limited to all pricing, reimbursement, brand switching, and
consumer segmentation studies and/or surveys.

25. For each of your AWPIDs, all documents (in digital, computerized form where
available) that identify each customer who purchased the AWPID. For each of these purchasers,
all documents that reflect:

(a) Each sale or other transaction involving the AWPID including the date thereof;

(b) The number or units of the AWPID sold by dosage strength and package size for
each sale or other transaction;

AWP (c) The invoice amount in dollars for each sale or other transaction concerning the
ID;

(d) Discounts, rebates, chargebacks, and other price adjustments relating to each sale,
transaction, or set of transactions involving or relating to the AWPID;

(e) The net amount in dollars for each sale or transaction concerning the AWPID;

& Any other price or unit adjustments — whether monthly, quarterly or on any other
basis — involving or relating to sales or transaction involving the AWPID;

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(g) The full name and address of each entity purchasing the AWPID (and, in addition,
the full name and address of the parent company where the database or documents identify a
subsidiary, corporate affiliate, division, satellite office, or warehouse).

26. For each of your AWPIDs, all documents that reflect the prices charged to, or
terms of conditions of sale for, purchasers of the AWPID including, but not limited, to:

(a) The wholesale acquisition price or other published price of the AWPID or any
generic equivalent;

(b) Payment terms;

(c) discounts, rebates, chargebacks or other adjustments offered to any class of
purchaser;

(d) _ Prices and terms of sales for wholesale purchasers;

(e) Prices and/or discounts and/or rebates or other adjustments for chain pharmacy
purchasers;

(f) Prices and/or discounts and/or rebates or other adjustments for hospital
purchasers;

(g) Prices and/or discounts and/or rebates or other adjustments for managed care
purchasers;

(h) _— Prices and/or discounts and/or rebates or other adjustments for pharmacy benefit
managers;

(i) Prices and/or discounts and/or rebates or other adjustments for internet
pharmacies;

(i) Prices and/or discounts and/or rebates or other adjustments for mail order
purchasers; and

(k) Prices and/or discounts and/or rebates or other adjustments for any other
purchaser class or subgroup.

27. ‘For each of your AWPIDs, documents sufficient to show, in digital or
computerized form, in chronological order:

(a) The date of each sales transaction;

(b) Every discount, rebate, and/or any other adjustment that any customer of D has
received;

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(c) The date each discount, rebate, and/or any other adjustment was given;
(d) The time period covered by each discount, rebate, and/or any other adjustment;

(e) Sales in units by National Drug Code sold, shipped, and/or returned by dosage
form, strength, and package size;

(f) Sales in dollars by National Drug Code sold, shipped, and/or returned by dosage
form, strength, and package size;

(g) Net sales in dollars for each sale;

(h) The name, address, account number, and all other identifying numbers or codes
for the person or entity billed, invoices, and/or credited for the transaction; and

(i) The name, address, account number, and all other identifying numbers or codes
for the person or entity to whom the product was shipped or from whom product returns were
received.

28. _‘ For each of your AWPIDs, documents sufficient to identify:

(a) The published AWP;

(b) AMP;
(c) ASP;
(d) EAC;
(ec) WAC;
(f) MAC;

(g) | Earned margin (difference between AWP and actual product cost);

(h) Documents that indicate whether the AWP, ASP, AMP and Earned
Margin include all rebates, chargebacks, discounts, allowances, credits, administrative fees,
price/volume discounts and any other incentives provided to third parties.

(i) Documents summarizing all rebates, chargebacks, discounts, allowances,
credits, administrative fees, price volume discounts or other incentives.

29. For each of your AWPIDs, all agreements for sale of the AWPID, whether or not
those contracts are with customers who purchased the AWPID directly, including drafts,
correspondence, and supporting detail and data (in computerized form where available).

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30. All documents concerning communications between you and IMS Health (or any
similar entity providing pharmaceutical database information) concerning or relating to any of
your AWPIDs.

31. For each of your AWPIDs, documents sufficient to estimate the number of
patients taking the AWPID over each one year period.

32. For each of your AWPIDs, all documents concerning your actual, potential, or
expected revenues and/or profits from the sale of that AWPID.

33. All documents concerning or relating to the actual or potential impact of the
pricing or reimbursement of any drug on the quantity of any of your AWPIDs that have been or
might be sold.

34. Documents sufficient to show your per-unit average total cost for each of your
AWPIDs, and the components that make up that figure, including but not limited to raw
materials, manufacturing, marketing, sales and packaging costs.

35. All documents concerning or relating to the difference between an AWP and any
other price for any AWPID.

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36. All documents describing any discount programs (including but not limited to
volume discounts), rebates, incentives, or penalties for each AWPID.

37. All documents relating to the use or provision of free samples, educational grants,
marketing grants, and payments for specific data gathering or other incentives relating to any
AWPID.

38. All documents evidencing any “credit memos” or credit extended to hospitals,
GPOs or other purchasers of AWPIDs, including but not limited to credit memos or credit issued
via a wholesaler to a purchaser, and/or credit for the purpose of “returned goods.”

39. All documents setting forth the circumstances in which credit against the purchase
of AWPIDs was or could be given to any hospital, GPO, HMO, physician, wholesaler or other
purchaser of AWPIDs.

40. All documents setting forth the circumstances in which credit against the purchase
of AWPIDs was or could be given to any hospital, GPO, HMO, physician, wholesaler or other
purchaser of AWPIDs.

41. All documents relating to or reflecting any payments you gave to providers
relating to any AWPID. (Class A Only)

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42. All documents evidencing any chargebacks with respect to the sale of an AWPID.

Category 7: Marketing Plan d Sales Representatives

43. | Documents sufficient to determine complete contact information for all personnel
with responsibility for marketing and promotional activity for AWPIDs. Include Marketing
Department Product or Brand Managers, and members of Marketing Advisory Boards, and
include home address and telephone number. (Class A Drugs)

44. A list of all national level sales awards available for each AWPID. (Class A
Drugs)

45. Quarterly, semi-annual and annual business plans for each winner of the top
national sales award winners and direct supervisors. (Class A Drugs)

46. Any summaries or reports made by a sales representative that evidence a
discussion between that sales representative and a provider regarding AWPs for AWPIDs,
reimbursements based on AWPs for AWP1Ds, and any difference between what the provider is
reimbursed for AWPIDs and what the provider pays for the AWPID. (Class A Drugs)

47. For each AWPID, sales representatives’ field notes for the top 50 sales
representatives for each year. (Class A Drugs)

48. Documents sufficient to describe any computer programs that you employ or have
employed to manage your sales force, including but not limited to programs that collect data on
the number of provider contacts and summarize the nature of the discussions between your sales
representatives and providers. Examples of such programs include programs marketed by Siebel
Systems and ImpactRx, as well as any programs developed by you. (Class A Drugs)

49. All documents relating to discussions between sales managers and sales
representatives after field visits where AWPs, reimbursements rates, or the spread was discussed.
(Class A Drugs)

50. All documents evidencing any meetings where raising the AWP, or use of AWP
as a marketing tool, on any AWPID was discussed. (Class A Drugs)

51. All communications between you and any party in the reimbursement cycle or
pharmacies relating to reimbursement and AWP. (Class A Drugs)

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52. All documents relating to any requests by you for any information concerning the
reimbursement, pricing or payment for any subject drug. (Class A Drugs)

53. All documents relating to all actual, proposed, or prospective marketing methods,
practices, policies, or strategies for each AWPID to the extent such documents refer to AWP, the
spread, or to discounts of any type.

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34. All documents relating to any communication with doctors, other health care
professionals, or any person or entity providing health care services to seek Medicare
reimbursement or consumer co-payment for free samples of each AWPID you provided to them.
(Class A Drugs)

55. All marketing and sales materials which compare the AWP, price, market share,
rebates, pricing discounts, incentives, or penalties for each AWPID with the AWP of any other
pharmaceutical. (Class A Drugs)

ory 8: Publishers \

56. All documents concerning communications between you and any publisher

conceming measures of price for pharmaceuticals, including ASP, AWP, WAC or other
measures of price.

57. For each of your AWPIDs, separately produce all documents concerning
communications between you and a publisher regarding the price(s) for that AWPID.

58. All documents concerning your role in the publication, appearance and/or
advertisement of the AWP, WAC or other price measure for your AWPIDs in any publication of
a publisher.

59. All documents concerning the role of the publisher in the publication, appearance
and/or advertisement of the AWP, WAC or other price measure for each of your AWPIDs in a
publication of a publisher.

60. All documents relating to the role of some person other than yourself and the

publisher in the publication, appearance and/or advertisement of the AWP, WAC and/or other
price measure for each of your AWPIDs in any publication of a publisher.

61. All documents relating to your role in the publication, appearance, or
advertisement of the AWP, WAC or other pricing information in any pharmaceutical-related
industry publications, including publications of the publishers.

62. All documents concerning the use by any participant in the drug distribution/sales
channels (e.g., wholesalers, retailers, pharmacies, pharmacy benefit managers, insurers, etc.).

63. All documents concerning agreements between you and any publisher.

64. All documents concerning any payments made by you to a publisher, where such
payments related in any way to drug pricing.

65. All documents relating to any investments or loans that you have made in or to a
publisher.

66. All notes or minutes of any meetings between you and a publisher where drug

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pricing was discussed.

67. All documents concerning communications between you and a publisher about
litigation involving AWP or drug pricing.

68. All documents regarding any pricing surveys that publishers have done for
AWPIDs. (All Drugs)

69. All documents regarding communications between you and a publisher about
drug reimbursement systems, including Medicare, Medicaid and private insurance. (All Drugs)

Category 9: PBMs; Wholesalers

70. All documents concerning your contractual relationships with wholesalers,
independent practice associations, pharmacies or providers insofar as they cover AWPIDs,
including, without limitation, master agreements, addenda, schedules, attachments, requests for
proposal, responses to requests for proposal and correspondence.

71. Documents sufficient to identify all persons involved in negotiation of contractual
relationships with wholesalers, manufacturers, independent practice associations, pharmacies,
PBMs or providers insofar as they cover any AWPID.

72. All documents relating or referring to your contractual relationships with PBMs
insofar as they cover AWPIDs, including, without limitation, master agreements, addenda,
schedules, attachments, requests for proposal, responses to requests for proposal and
correspondence.

73. Documents sufficient to identify all persons involved in negotiation of contractual
relationships with PBMs insofar as they cover any AWPID.

74. All documents relating to marketing materials that you have provided PBMs for
any AWPID.

75. All documents relating to any communications between you and PBM regarding
AWP, or to any fees or monies paid to or retained by a PBM.

76. All documents relating to any communications between you and any PBM
regarding the revenue, profit, spread or other consideration that a PBM would earn based on any
difference between your price for any AWPID and the compensation that the PBM receives for
the AWPID.

77. All documents relating to the pricing of any of your AWPIDs sold to or through
any PBM.

78. All documents relating to any rebates that you have provided PBMs for any
AWPID.

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79. Excluding Rebates, all documents referring or relating to your provision of any
other consideration to a PBM for AWPIDs, including but not limited to:

a. Administrative fees for assembling data to verify market share results;
b. Fees for selling other data;

c. Fees for encouraging physicians to change prescribing patterns;

d. Prompt payment discounts;

e. Free drugs;

f. Drug samples;

g. Credit memos or credit extended to any PBM, including but not limited to credit
memos or credit issued for the purported reason of “returned goods;”

h. Other discounts, fees or grants.

80. All documents relating to the placement of any of your AWPIDs on a PBM
formulary.

ory 10: Commun ns With Other Manufacturers

81. All documents relating to any communications, including meetings, between you
and any other pharmaceutical company regarding:

(a) any actual, proposed or prospective price, price announcements, price changes, or
price lists for any AWPID;

(b) = any actual, proposed, or prospective pricing methods, practices, policies or
strategies for any AWPID;

(c) any actual, proposed, or prospective marketing methods, practices, policies, or
strategies for any AWPID;

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(d) _—_ any actual, proposed, or prospective pricing discounts, rebates, bids, or incentives
for any AWPID;

(e) territories or markets for sales or potential sales for any AWPID;
(f) Medicare Part B and its policy of reimbursement for any AWPID;
(g) the AWP of any AWPID;

(h) _ pharmaceutical industry publications; and

(i) market conditions or market shares.
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82. Any documents relating to the repackaging or relabeling of any AWPID including
but not limited to: (a) documents indicating that any AWPID with a specific NDC has been
repackaged and is being sold with a different NDC, but is the same drug; and (b) for any
repackaged AWPID, documents evidencing the AWP of the original AWPID and of the

repackaged AWPID, and documents evidencing the bases, methods and/or reasons for any
change in the AWP.

VH. INTERROGATORIES

1. For the period beginning January 1, 1997, and for each subsequent calendar
quarter, and with respect to each of the AWPIDs, identify the following information:

a. the total volume of sales, indicating both the number of units and net
revenue;

b. the “average wholesale price” (AWP), as reported in Medical Economics
Red Book, First Data Bank and/or MediSpan, and the volume of sales (in both units and net
revenue) occurring (i) at or within five percent of AWP, whether higher or lower, (ii) at more
than five percent above AWP, and (iii) at more than five percent below AWP;

c. the “ average manufacturer price” (“AMP”), as reported to the Secretary
of Health and Human Services, pursuant to the requirements of Social Security Act (“SSA”)
§ 1927(b)(3), and the volume of sales (in both units and net revenue) occurring (i) at AMP and
up to and including 10% above AMP, and less than or equal to 10% below AMP (broken out
separately), (ii) at greater than 10% above AMP but less than or equal to 20% above AMP, and
at greater than 10% below AMP but less than or equal to 20% below AMP (broken out
separately), (iii) at greater than 20% above AMP but less than or equal to 30% above AMP, and
at greater than 20% below AMP but less than or equal to 30% below AMP (broken out
separately), (iv) at greater than 30% above AMP but less than or equal to 40% above AMP, and
at greater than 30% below AMP but less than or equal to 40% below AMP (broken out
separately), and (v) at greater than 40% above AMP but less than or equal to 50% above AMP,

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and at greater than 40% below AMP but less than or equal to 50% below AMP (broken out
separately);

d. the “wholesale acquisition cost” (“WAC”), as reported by Medical
Economics Red Book, First Data Bank and/or MediSpan or any other such entity that gathers and
publishes “wholesale acquisition costs,” and the volume of sales (in both units and net revenue)
occurring (i) at or within five percent of WAC, whether higher or lower, (ii) at more than five
percent above WAC, and (iii) at more than five percent below WAC;

e. the “average sales price” (ASP), i.e., the price after reflecting discounts,
rebates, chargebacks, to all classes except FSS;

f. the total volume of the subject drug, in units, distributed as free goods.

2. For the period beginning January 1, 1997, to the present, has the distribution,
marketing, sales or promotion of any AWPID considered, incorporated, or been based upon, in
any way, the difference between the cost to the provider and the amount that the provider
receives for reimbursement or sale? If so, please describe the circumstances of such distribution,
marketing, sales, or promotion, and provide all documents relating thereto, and identify all past
and current employees with knowledge of the facts relating to such marketing, sales or
promotion.

3. For the period of January 1, 1997, to the present, please state for each calendar
quarter the largest single purchaser, in terms of units, of each of the AWPIDs and the following:

a. the total number of units of the AWPIDs received by that purchaser; and

b. the total net revenue received for the AWPIDs by your company from that
purchaser.

Please also produce the contract or agreement governing your relationship with that
purchaser for each relevant quarter.

4, For the period of January 1, 1997, to the present, and for each subject drug, please
provide a list of all purchasers who received the subject drug at a price exempted from the
calculation of the Medicaid “best price,” pursuant to the requirements of SSA
__1927(c)(1)(C)(ii)(), and, for each such purchaser, indicate the volume of the AWPID
received by calendar quarter, in units, and the range of prices at which such purchaser received
the subject drug for that quarter.

5. With respect to each AWPID, please describe how you calculate the prices and/or
data reported to Medical Economics Red Book, First Data Bank or MediSpan or any other such
entity that gathers and publishes either “average wholesale prices,” “list prices,” or “wholesale
acquisition costs.” And for each drug identify the persons responsible for doing so. (All Drugs)

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6. Identify the source of each of the documents produced in response to plaintiffs’
requests for the production of documents throughout this litigation by identifying the person(s)
who possessed those documents, the job position of any such individuals, and the division and
department where such documents were located. If you are unable to determine the individual(s)
who possessed the documents, identify the department and division where they were/are located
when produced.

DATED: — March 31, 2004 By A

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I hereby certify that I, Thomas M. Sobol, an attorney, caused a true and correct copy
of the foregoing Plaintiffs' Omnibus Requests For Production And Interrogatories To
Defendants Abbott, Amgen, Aventis, Baxter, Bayer, Boehringer, Braun, Dey, Fujisawa,
Novartis, Pfizer, Pharmacia, Sicor, Tap And Watson And To All Other Defendants With
Respect To Drugs That Were Not Previously Subject Ti To Dis : gn all
counsel of record electronically on March 31, 2004 ‘ ase
Management Order No. 2.

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Telephone: (617) 482-3700

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Exhibit 6
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4 In re Pharmaceutical Industry Average Wholesale Price Litigation’

ancth A. Wexler, Bsq.
le Wexler Firm:
i Orie North LaSalle Street, Suite 2000
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iif As you requested, Tam writing to confirm AstraZeneca’s proposed

imitations on: the'scope of our search for documents and data résponsive to

intif ¢';Omn Pp Requests for Production and Interrogatories, as well as
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I noted in‘our teleconference yesterday, AstraZeneca generally objects
iifts” discovery requests on a variety of grounds. For example, the
hes fs are shockingly overbroad and unduly burdensome, as y

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ious. Any attempt to respond to these requests on their face would take |
cost tens of millions of dollars. Similarly,

imit our search for responsive
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04/26/04

THE|WEXLER|FIRM™

April 26, 2004

VIA VERILAW

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: In re: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Kim:

We are writing in response to your April 22, 2004 proposal (as stated in your April 23,
2004 letter) for certain initial limitations on AstraZeneca’s document production in
response to Plaintiffs’ Omnibus Requests for Production of Documents and
Interrogatories. With respect to your proposal on Plaintiffs’ First Request for Production
of Documents to the Together Rx Defendants, we request that we have a follow-up call
with us and Brian Williams, Esq. this week.

A. Timing of Production

First, paragraph II.4 of Case Management Order No. 10 (“CMO 10”) requires that “[a]
responding party to an initial document request shall complete production of all
documents within sixty (60) days of service of such request.” You propose to produce a
certain subset of documents within 60 days, but defer the remainder of the production on

a rolling basis every three weeks with a goal of completing the production no later than
July 31, 2004.

While we certainly understand the superficial constraints that appear to be imposed by a
60-day production, this is certainly not the case in reality, This case has been pending for
more than two years and plaintiffs’ initial discovery requests in this consolidated

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04/26/04

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Ms. Kimberley Harris
April 26, 2004
Page 2 of 4

proceeding were served June 17, 2003. Moreover, a July 31, 2004 final date for
production is unrealistic in light of the fact that plaintiffs’ motion for class certification is
due September 2, 2004. A one-month interval is not sufficient time for plaintiffs to
review the documents and take the necessary depositions in preparation for the filing of
the motion.

Accordingly, we cannot agree to the timing proposed by you. If you have an alternative
proposal, please let us know. Otherwise, AstraZeneca must comply with the
requirements of CMO 10.

B. Relevant Time Period

Second, AstraZeneca proposes to limit the search for responsive documents to the period
January 1, 1997 to September 6, 2002. This proposal is certainly in direct contravention
to defendants’ requirement that the plaintiffs produce all documents for the period
January 1, 1991 to the present. See, e.g., Letter from Lyndon Tretter to me dated April
21, 2004. Obviously, defendants cannot use time periods as both a sword and a shield.
Moreover, the Court has not limited plaintiffs’ claims in any way by time period.

Accordingly, we request that for this initial production AstraZeneca produce documents
for the period January 1, 1991 through March 31, 2004 (the date of the Omnibus

Requests), Further, this does not obviate the need for supplemental productions in
accordance with the rules,!

C. Scope Limitations With Respect to Non-Physician-Administered Drugs

Next, we want to be clear that your proposed limitations on groups and individuals to be
searched in your April 22, 2004 proposal apply only to non-physician-administered
drugs.

With respect to non-physician-administered drugs, we agree that materials relating to
marketing to consumers or to physicians need not be produced. However, as we
discussed, the requests do require production of documents related to marketing and
communications (among other things) to others in the distribution chain, including but
not limited to wholesalers and pharmacy benefit managers. Assuming that the groups you
have identified at AstraZeneca — including the pricing strategy group, the managed

"In fact, AstraZeneca’s prior productions, despite the fact that defendant represented it had produced
documents for the period 1997-2002, focused almost exclusively on the period 1997-2000. Thus defendant
should supplement its prior productions in accordance with the requests.
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Ms. Kimberley Harris
April 26, 2004
Page 3 of 4

markets group (as defined in your April 23 letter), and the employees relevant to
Categories 1-4 of the Omnibus Requests (General Corporate,” Trade Associations,°
Governmental Investigations and Litigation, Communications with Governmental
Entities) — include every group at AstraZeneca relevant to Categories 5-11 (other than
those marketing to consumers and physicians (“non-searched groups”)), we accept this
proposal. If it does not include every group at AstraZeneca relevant to Categories 5-11
(other than the non-searched groups), please advise immediately.’

You also agreed to produce any strategic or operational plans for the drugs subject to
these requests and will not redact any portion of those plans even if some portions refer to
work being done by any non-searched group.

Finally, by agreeing to these scope limitations, plaintiffs do not waive their right to re-
visit any of the Omnibus Requests and/or AstraZeneca’s responses thereto.

D. General Objections

Finally, you generally characterize plaintiffs’ discovery requests as “shockingly
overbroad and unduly burdensome” and “vague and ambiguous” (“General Objections”).
You have yet to provide specific objections to the discovery requests however. We
assume that your April 22, 2004 proposal is a representation that the documents you
propose to produce will be produced in full, ie. will not be additionally limited or will
not have sub-sets withheld based on the General Objections, other than on the basis of
attorney-client privilege or the work product doctrine. If this is not the case, please
advise ASAP so that we can bring these matters to the Magistrate by May 3, 2004.

? Additionally, AstraZeneca’s prior productions do not appear to have included certain general corporate
information, such as annual reports, summary reports, comprehensive financial reports or drafts thereof,
that would be responsive to nos. 36, 37 and 38 in plaintiffs’ First Amended Requests for Production.

* Please note that AstraZeneca has yet to produce documents related to trade associations responsive to No.
2 in plaintiffs’ First Amended Requests for Production of Documents, and should supplement its prior
productions accordingly.

For example, AstraZeneca has not yet produced any correspondence or other documents from its General
Counsel's office. Certain communications between General Counsel and other third parties, including but
not limited to other pharmaceutical companies, distributors and customers, would not be protected by the
attorney-client privilege and would be responsive to a wide variety of plaintiffs’ initial discovery requests

and of the Omnibus Requests. Moreover, defendant has yet to produce a privilege log for any production it
has made,

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Ms. Kimberley Harris
April 26, 2004
Page 4 of 4

In sum, please let us know this week if you have any alternative proposals with respect to
sections A or B. If you have any disagreement with section C, let us know immediately;
otherwise, I believe we have an agreement on the scope of the initial production in
response to the Omnibus Requests. Finally, with respect to section D, please advise
whether there are any issues that need to be raised before the Magistrate by May 3, 2004.

EFH:lyr

cc. All Counsel of Record via Verilaw

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04/26/04
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 66 of 98 é

04/26/04

THE|WEXLER|FIRM™

April 26, 2004

VIA VERILAW

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: Inre: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Kim:

In your April 24, 2004 letter, you state that: “[a]lthough Diprivan and Pulmicort have
been assigned J-codes, Diprivan is a hospital product that is billed under Medicare Part A
as part of the overall charge for medical services and Pulmicort was not reimbursed under
Part B during the time period relevant to the complaint. Accordingly, we will treat these
drugs as “Class B Drugs” for the purpose of responding to the Omnibus requests.” Please
confirm in writing that there are not any sales by of Diprivan or Pulmicort to the
clinic/physician market (private payer arena). If there are not any such sales, we agree
that these drugs should be treated as “Class B Drugs”. If there are such sales however,
we do not and will not agree to the imposition of the discovery scope limitations
proposed for the non-physician-administered drugs on Diprivan or Pulmicort.

Sincerely,

Elizabeth Fegan H

EFH:lyr
cc, All Counsel of Record via Verilaw
Contact Information: Elizabeth Fegan Hartweg One North LaSalle Straet 312 346 2222

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efhartweg@wexlerfirm.com Chicago, Iilinols 60602 www.wexlerfirm.com
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 67 of 98
DAVIS POLK & WARDWELL

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15, AVENUE MATIGNON 212 450-4859 3A CHATER ROAD
75008 PARIS HONG KONG
April 29, 2004

Re: Inre Pharmaceutical Industry Average Wholesale Price Litigation

Elizabeth Fegan Hartweg, Esq.
The Wexler Firm LLP

One North LaSalle Street
Suite 2000

Chicago, IL 60602

Dear Beth:

I am writing in response to your letter dated April 26, 2004, regarding
_AstraZeneca’s proposed limitations on its response to Plaintiffs’ Omnibus
Requests for Production.!

First, our review of the transactional sales data for Pulmicort and Diprivan
confirms that there were no direct sales to physicians during the relevant time
period.” In light of this representation, it is our understanding that you agree that
these drugs will be treated as “Class B” drugs for the purposes of Plaintiffs’
Omnibus Requests. Accordingly, AstraZeneca has no physician-administered or
Medicare Part B drugs (defined by Plaintiffs as “Class A” drugs) subject to the
Omnibus Requests.

Second, we understand from your April 26 letter that you agree to the
proposed limitations in our April 23 letter on the groups and individuals whose
files we will search for relevant documents, namely 1) the pricing strategy group
(now formally known as Managed Markets/Pricing Group); 2) the various other

' We will respond separately to your footnote references to alleged deficiencies in
AstraZeneca’ s production of document relating to Zoladex in response to Plaintiffs’ First Request
for Production of Documents. Most, if not all, of your assertions are incorrect. For example, you
assert in footnote 4 that AstraZeneca “has yet to produce a privilege log for any production it has
made.” In fact, a privilege log was produced on April 2, 2004. If you have misplaced the log, we
can send you a second copy.

? You will be able to confirm this representation from the transactional sales data that we
propose to produce sixty days from the date the Omnibus Requests were served.
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Ms. Hartweg 2 April 29, 2004

relevant groups within the managed markets department (now formally known as
the Managed Markets, Government and Policy Group); and 3) other employees
likely to have relevant documents responsive to those requests in Categories 1-4
of the Omnibus Requests for which we have agreed to produce documents. As
previously noted in our April 23 letter, we believe these are the only groups that
may have relevant documents responsive to the Omnibus Requests. We suggest
that you confirm this representation at the Rule 30(b)(6) deposition of
AstraZeneca, currently scheduled to occur the week of May 17, 2004. In
addition, you are correct that we agreed to produce the strategic and operational
plans for the drugs subject to these requests. As you request, we will also agree
not to redact any non-privileged material from these plans.

However, the proposal reflected in our April 23 letter was not a
representation that we would search for all documents from these individuals and
. groups that are facially responsive to each and every Omnibus Request. As
previously noted in our April 23 letter, many of the requests are overbroad,
unduly burdensome, vague, ambiguous and, in some cases, cal! for irrelevant
material. To facilitate a prompt discussion of these objections, we have served
today our specific written responses and objections to the Omnibus Requests.
With respect to our relevancy objections, we are open to discussing why you
believe the requested documents are relevant to the claims asserted in the AMCC.
With respect to our objections based on overbreadth, burden and ambiguity, we
suggest that we discuss appropriate limitations on the scope of these requests.

In addition, we maintain our objection to producing at this time documents
outside of the January 1, 1997 to September 6, 2002 time period. It would be
impossible to search for, review and produce documents responsive to each of
your eighty-two requests for the entire fourteen years you propose within the sixty
days you demand. We do not view this as a reasonable request. We suggest that
you agree, at least for now, to limit your requests to the time frame we proposed.

Moreover, even if you agree to this time limitation, it is simply not
feasible to complete AstraZeneca’s production within sixty days. It is irrelevant
that this action has been pending for two years or that plaintiffs’ initial discovery
requests were served some time ago. Plaintiffs’ Omnibus Requests are
significantly different in scope and expanded in breadth from those initial
requests. Moreover, the drugs subject to these requests have only been at issue in
this litigation since the Court’s decision in February 2004. Moreover, we do not
agree that discovery must be completed before plaintiffs file a motion for class
certification.

Accordingly, as suggested in our April 23 letter, we propose to make a
substantial production sixty days from the date the Omnibus requests were served,
but we do not believe it is possible to complete the production in that timeframe.
Moreover, we are willing to prioritize our review and production, if plaintiffs
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Ms. Hartweg 3 April 29, 2004

have a proposal as to the categories of documents that are most important to be
produced on an expedited basis. Finally, we may be able to make significant
progress on the production if reasonable limitations are placed on the scope of
certain requests.

Your letter did not address our proposal with respect to Together Rx. To
reiterate, we propose to limit our search to the individuals at AstraZeneca
responsible for AstraZeneca’s participation in the Together Rx program. We also
propose to limit the Together Rx-specific production to documents within the
January 1, 2001 to June 13, 2003 timeframe.’ Our more specific objections to
particular requests are reflected in our written responses and objections.

Please let us know when you are available for a meet and confer to further
discuss these issues.

Sincerely,
Hanns me

Kimberley Hé&fris

By Facsimile & Mail

3 This also means that we will extend the cut-off date for the transactional sales data for
Together Rx drugs to June 13, 2003.
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212 450 4859
15, AVENUE MATIONON aa CHATER ROAD
75008 Paris HONG KONG
May 21, 2004

Re: AstraZeneca Response to Plaintiffs’ Omnibus Document Requests

Elizabeth Fegan, Esq.
The Wexler Firm

One North LaSalle Street
Suite 2000

Chicago, IL 60602

Dear Beth:

1 am writing to summarize our telephone conversations of May 3, 2004
and May 14, 2004, regarding AstraZeneca’s responses to Plaintiffs’ Omnibus
Requests for Production and Interrogatories (“Omnibus Requests”) and to confirm
AstraZeneca’s position on various unresolved issues, including our proposed
limitations on the scope of certain requests.

First, regarding the drugs subject to the Omnibus Requests, it 18
AstraZeneca’s position that documents relating to Zoladex® are not subject to the
Omnibus Requests, and the title and second paragraph of the Omnibus Requests
support this position. Additionally, Steve Berman’s letter to Erik Haas of April 8,
2004, which was posted to Verilaw, states that the Omnibus Requests do not
cover drugs that were the subject of prior requests. Accordingly, as we have
consistently stated in our objections, in previous letters and in our recent
conversations, AstraZeneca does not intend to produce documents or data relating
to Zoladex® in response to the Omnibus Requests.' Morcover, in light of the fact
that AstraZeneca has already produced approximately 500,000 pages relating to
Zoladex®, as well as a substantial amount of data, it is simply unnecessary for the
Omnibus Requests to apply to Zoladex®. You have indicated in our recent
conversations that plaintiffs may disagree with AstraZeneca on this issue. Please
confirm plaintiffs’ position as soon as possible.

Second, regarding the time frame subject to discovery, AstraZeneca
reiterates its objection to plaintiffs’ demand that AstraZeneca produce responsive
documents from January 1, 1991 to March 31, 2004. It would be virtually

' Please note that AstraZcneca intends to produce additional documents relating to
Zoladex on or around June 1, 2004, which will substantially complete its responsc to Plaintiffs’
First Request for Production of Documents.
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Elizabeth Fegan, Esq. 2 May 21, 2004

impossible for AstraZeneca to search for, review, and produce documents
responsive to each of your eighty-two requests for the entire fourteen years you
propose. Nonetheless, in an effort to resolve this dispute, AstraZeneca offered to
produce transactional sales data for this entire time period in lieu of documents. It
is our understanding that you have rejected this proposal, although you indicated
that you may be willing to accept a limitation on the scope of the documents to be
produced. You have asked us to propose such a limitation.

Accordingly, subject to our previous agreement on the relevant groups to
be searched and our written objections, we propose to search for responsive data
and documents from the following categories for the time period January 1, 1991
to March 31, 2004, to the extent such data and documents still exist: 1) in
response to Requests 25-27, transactional sales and rebate data; 2) in response to
Requests 29 and 70, contracts with PBMs, wholesalers and retailers; 3) in
response to Category 9 of the Omnibus Requests, responsive documents relating
to ExpressScripts, AdvancePCS, Medco Health and Caremark; and 4) in response
to the particular requests indicated in AstraZeneca’s written responses and
objections, responsive documents from the Managed Markets/ Pricing Strategy
Group. With respect to all other requests not included above, AstraZeneca
proposes to search only active files for responsive documents’, subject to the
following limitations on certain of these requests (many of which we have already
discussed):

* With respect to Requests 1, 2, 5, 7, and 20 you agreed to limit the
scope of these requests to the groups that we have agreed should be
searched for responsive documents.

e With respect to Request 3, you agreed to get back to us with a
more specific request as to the type of policy and procedure
manuals plaintiffs are requesting. You also agreed to limit the
scope of this request to policy or procedure manuals applicable to
the departments we have agreed to search.

e In response to Request 4, AstraZeneca proposes to search for and
produce documents sufficient to identify AstraZeneca’s electronic
mail systems and electronic databases reJating to transactional
sales and rebate data. If plaintiffs can identify additional specific
types of electronic systems believed to be within the scope of this
request, AstraZeneca will consider the proposal.

° In response to Request 6, AstraZeneca will either produce these
documents or add them to ils privilege log.

? We will also agree not exclude from production responsive documents located in the
active files solely on the grounds that thc documents fall outside of the 1997 to 2002 timeframe we
originally proposed.
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Ehzabeth Fegan, Esq. 3 May 21, 2004

° In response to Requcsts 12 and 13, you agreed to limit the scope of
this request to exclude documents related to the Medicaid rebate
program. We agreed to evaluate whether certain Zestril subpoenas
you described may have resulted in the production of documents
responsive to these requests.

° With respect to Request 20, you agreed to limit the scope of this
request to documents sufficient to identify the individuals
described.

° With respect to Requests 22 and 23, you clarified that plaintiffs
only seek documents relating to the competitive market for the
AstraZeneca drugs subject to the Omnibus Request.

e In response to Request 24, AstraZeneca agreed to produce strategic
and operational plans and agreed not to redact any non-privileged
material.

e In response to Request 28, AstraZeneca will produce information

on the WAC and AWP published i in First Databank.’ We will also
confirm that the terms EAC, eamed margin and ASP are not used
in practice at AstraZeneca with respect to the drugs subject to the
Omnibus Request (outside of the new Medicare regulations).

° With respect to Request 30, AstraZeneca agreed to reconsider our
objection. We will get back to you promptly on our views with
respect to this request.

e With respect to Request 31, you agreed to reserve your demand for
these documents.
e In response to Requests 32 and 34, AstraZeneca maintains its

objection that documents relating to the cost of manufacturing and
marketing its products and its profits from the sale of any product
are not relevant to this litigation. However, we will agree to
produce responsive documents relating to cost, profit or revenue,

to the extent they are contained in the files of the groups we agreed
to search.

° With respect to Request 35, you clarified that plaintiffs only seek
documents relating to a “spread” between two concurrent measures
of price for a single drug.

2004.

? We will also agrce to produce this information from January 1, 1991 through March 31,
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Elizabeth Fegan, Esq. 4 May 21, 2004
. With respect to Request 37, you agreed that with respect to
pharmacy-dispensed drugs, this request was effectively duplicative
of Request 79.
e In response to Requests 38, 39, and 40, AstraZeneca proposes to

produce only line-item credit information in the transactional data.

Of course, as a general matter, we expect that both sides wil) be willing to
discuss specific follow-up requests as the litigation progresses.

Please note that this proposed expansion of the scope of AstraZeneca’s
production is significant and means that although we will make a substantial
production on or before June 1, 2004, it would be impossible to complete the
production by that date. As we have stated in the past, we will make rolling
productions every three weeks thereafter and will make all reasonable efforts to
complete the production by July 31, 2004.

We believe that this letter presents a reasonable compromise between our
significant objections regarding the burdensome nature of plaintiffs’ requests and
your interest in obtaining information on a timely basis. If plaintiffs agree to this
proposal, we expect that plaintiffs will withdraw their Motion to Compel against
AstraZeneca. If plaintiffs’ do not agree, please let us know immediately. We will
then proceed to vigorously oppose the Motion to Compel and will only produce
documents and data, subject to our written objections, from the 1997 to 2002
timeframe that we previously proposed.

{ look forward to your prompt reply. Please also feel free to call me if you
would like to discuss this further.

Sincerely,

slut Oe

Kimberley D. Harris

By Facsimile
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 74 of 98

THE|WEXLER|FIRM™

May 24, 2004

VIA FACSIMILE

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: Inre: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Kim:

I am writing regarding AstraZeneca’s (“AZ”) Responses to Plaintiffs’ Omnibus Requests
for Production and Interrogatories (“Responses”) and certain matters that arose during
John Freeberry’s deposition.

Discovery Search Limitations

As you know, during our meet and confers on the Responses, you made certain
representations about the two “groups” or departments at AZ that you believed would
maintain the majority of documents responsive to the discovery requests. Accordingly,

you suggested that we agree to allow AZ to limit its search to those two groups, subject to
confirmation at last week’s Rule 30(b)(6) deposition.

Based on the 30(b)(6) deposition of Mr. Freeberry, we cannot agree to the limitation you
propose. Despite the fact that Mr. Freeberry’s designation was limited to just a handful
of topics, Mr. Freeberry testified, for example, that the Pricing Strategy Team is
composed of “somebody from finance, the marketing manager, managed care
representative ... finance, professional, somebody who represents the consumer, strategy,
we will have health economics individual on that team.” (Freeberry dep., at 20-22). Mr.
Freeberry further testified that the recommendations of the Pricing Strategy Team go
through several levels of review, including the Operations Portfolio Management
Committee (““OPMT”), and then the AstraZeneca Leadership Team (“AZLT”), and

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THE|WEXLER|FIRM”

Ms. Kimberley Harris
May 24, 2004
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finally to the CEO. (Jd. at 23-24). Each of these teams or committees would certainly
have documents directly responsive and relevant to this AWP litigation.

Document Storage Index

Further, Mr. Freeberry had no knowledge of the groups or persons that would have
documents relevant to this litigation at Zeneca and, thus, Zoladex. Accordingly, we
cannot agree to any limitation for the pre-merger period without a review of an index of
the boxes that exist in storage. You have previously stated that you have a box index for
the boxes that AZ has in storage. As we discussed, as soon as you provide us with a copy,
we will review it and turn it around in 48 hours to identify the boxes that are most likely
to contain responsive documents. Please provide us with a copy by Friday, or advise us if
you have no intention of doing so.

E-mail Search

Mr. Freeberry also testified that most of the communications, both internal and external,
regarding pricing at AZ are done through e-mail. Accordingly, we request that AZ agree
to run search terms through its e-mail databases to identify relevant correspondence. We
suggest the following search terms:

AWP Spread
Suggested Sample(s)

List Price(s) Volume

Bundle Reduce/reduction
Chargeback(s) Profit

Credit(s) Return to Practice/ RTP
Discount(s) Medicare
Educational Grant Part B

Free Advantage
Grant(s) Cost advantage
Incentive(s) Profit advantage
Net Margin

Price(s) Influence
Rebate(s) Unrestricted
Reimbursement Complimentary
Returned Goods

These terms represent a reasonable attempt to capture the words used by AZ personnel in
the documents produced to date and/or that were referenced by Mr. Freeberry
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Alleged Privileged Communications

Next, Mr. Freeberry testified, in early 2002, he made a decision in conjunction with in-
house counsel, Stuart Fullerton, Esq., to stop reporting suggested AWPs and only report
WAC to the publishers. (Freeberry dep., at 93-94). Mr. Freeberry refused to answer
questions regarding his discussions with Mr. Fullerton or his discussions with his pricing
team (despite the fact that no attorney was present for those conversations) regarding the

decision to stop reporting suggested AWPs on the basis of privilege. This is problematic
for several reasons.

First, conversations with an attorney that are primarily related to business, as opposed to
legal, advice are not protected by the attorney-client privilege. See Continental
Cablevision of Massachusetts, Inc. v. Irwin, 1991 U.S. Dist. LEXIS 21805 (D. Mass.
1991). Thus, the privilege does not attach when “in-house counsel is engaged in non-
legal work”, which includes “the rendering of business or technical advice...” Borase v.
M/A Com, Inc., 171 F.R.D. 10, 14, 1997 U.S. Dist. LEXIS 4773 (D. Mass. 1997). That
is exactly what it appears that Mr. Fullerton was doing here, when he jointly made the
decision with Mr. Freeberry to stop reporting suggested AWPs to the publishers. To the
extent that you disagree, defendant has the burden “of producing evidence in support of
its contention that in-house counsel was engaged in giving legal advice and not in some
other capacity at the time of the disputed conversations.” Id.

Second, conversations where no attorney is present and that are with not members of the
control group (which Mr. Freeberry’s team would not be) certainly cannot be protected
by the privilege. Accordingly, Mr. Freeberry and the members of his team should be
directed to respond to conversations they had amongst themselves related to AZ’s 2002

decision to stop reporting suggested AWPs. If you have authority to the contrary, please
advise us so that we may reconsider our position.

Finally, AZ has raised certain affirmative defenses which place this 2002 decision made
by Mr. Fullerton and Mr. Freeberry directly at issue. See, e.g., Answer and Defenses of
Defendant AstraZeneca Pharmaceuticals LP to the Intervenors’ Amended Master
Consolidated Class Action Complaint, Ninth Defense (“Any and all actions taken by
AstraZeneca with respect to any of the matters alleged in the AMCC were taken in good
faith and in accordance with established industry practice.”), Fourteenth Defense
(“...Plaintiffs and the putative class members seek to impose liability retroactively for
conduct that was not actionable at the time it occurred.”); Eighteenth Defense
(“...AstraZeneca had no reasonable grounds to believe, and did not believe at the time
such a statement was made, that the statement was false or misleading.”); Thirty-Seventh
Defense (“Any alleged restraints complained of in the AMCC are ancillary to legitimate,
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Ms. Kimberley Harris
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procompetitive activity”); Thirty-Eighth Defense (“AstraZeneca’s conduct was not
intended to have, did not have and was not likely to have had any adverse effects on
competition in any relevant market.”); Forty-Eighth Defense (“Plaintiffs’ and the putative
class’ claims are barred, in whole or in part, because any injuries sustained by Plaintiffs
or the putative class were the result of intervening or superceding conduct of third
parties.). Accordingly, AZ cannot shield from discovery the rationale behind its

decisions related to AWP merely by the fact that an attorney made, or jointly made, the
decision.

Continued 30(b)(6) Deposition

Finally, AZ will need to designate and make available 30(b)(6) witnesses on the
remainder of the topics about which Mr. Freeberry had made no attempt to inform
himself of the facts reasonably available to the corporation. Please advise by Wednesday
of the identity of the witness(es), the topics on which each is designated, and their
availability for deposition. As we indicated, we will make ourselves available at your
convenience to complete this deposition as soon as possible. Please note, however, that
we cannot enter into a “final” agreement on the groups to be searched for responsive
documents until the 30(b)(6) is completed.

Because of the deadlines imposed by the Court, we need to resolve all outstanding issues
this week. Please advise of your availability for a call Wednesday, May 26, 2004 at 9
a.m. EDT. We look forward to hearing from you.

Sincerely,

{

EFH:lyr

cc. Co-Lead Counsel (via facsimile)
oe me Rene mR Owe mw we

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DAVIS POLK & WARDWELL

1300 1 STREET fa w 450 LEXINGTON AVENUE MESSETURM

WASHINGYON, OC 20305 GO308 FRANKFURT AM MAIN
New Yorn, N.Y. 10017 --.
1600 EL CAMINO REAL 212 4250 4000 MAROUES DE La ENSENADA. 2
MENLO PARK, CA 94025 Fax 212 450 3800 28004 MADRID
92 GRESHAM STREET . t-@-1 ROPPONGI
WRITER'S OIRECT
LONOON EC2V 7NG MINATO-KU, TOKYO 106-6033
212 450-4859
16, AVENUE MATIGNON 3A CHATER ROAD
75008 PARIS HONG KONG
May 25, 2004

Re: = In re Pharmaceutical Industry Average Wholesale Price Litigation

Elizabeth Fegan, Esq.
The Wexler Firm

One North LaSalle Street
Suite 2000

Chicago, IL 60602

Dear Beth:

[I am wniting in response to your letter dated May 24, 2004. Asa
preliminary matter, it is not clear whether your letter was intended to respond to
my letter dated May 21, 2004, wherein AstraZeneca proposed a reasonable
compromise to the parties’ dispute regarding the burden imposed by plaintiffs"
requested time frame for discovery. We encourage you to respond to that letter
immediately, in light of the pending deadline for an opposition to the Motion to
Compcel. In the interim, we respond to each of the points raised in your letter
below.

Discovery Search Limitations

You appear to be concerned that documents created in connection with the
Tecommendations of the pricing strategy team would not be captured in our search
of the files of the Pricing Strategy Group. However, Mr. Frecberry testified, in
response to your questions, that documents created in connection with the
recommendations of the pricing strategy team would be created by his group and
maintained by his group. Freeberry Dep. at 77-78. Accordingly, we believe that
most, if not all, of the relevant pricing documents will be contained in the files of
the Pricing Strategy Group, which we have already agreed to search. In addition,
if you agree to the rest of the proposal set forth in my May 21, 2004 letter, we wil]
also agree to search the pricing files of the commercial brand teams, OPMT and
the AZLT, to the extent any such files exist, for responsive documents relating to
pricing recommendations. (Note that we have already agreed to search the files of
the managed markets brand directors.) We believe, according to Mr. Freeberry’s
2004 17:14 FAX 212 450 5988 DPW 30-51 ve
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Ms. Fegan 2 May 25, 2004

testimony, that these additional searches would capture any documents not
maintained by Mr. Freeberry’s group directly.

Document Storage Index

It appears that your concer regarding documents in storage relates to
Zoladex. However, the approximately 500,000 pages relating to Zoladex that
have been produced to date include responsive documents from storage.
Accordingly, there is no need to search a storage index for Zoladex-related
documents. With respect to the Omnibus Requests, my May 21, 2004 letter
contains AstraZeneca’s proposal regarding our search for documents from the
time frame requested by plaintiffs.

E-mail Search

We have already undertaken a substantive review of the email of the
Pricing Strategy Group. Accordingly, the search you propose is unnecessary.

Pnvileged Communications

We disagree with your privilege analysis. However, we suggest
postponing a discussion of this dispute until the broader, more fundamental issues
regarding the scope of your discovery requests are resolved.

Continued 30(b)(6) Deposition

We will get back to you by the end of this week regarding date(s) and
designee(s) for the completion of the AstraZeneca Rule 30(b)(6) deposition.

We are available for a continued meet and confer on Wednesday, May 26
at 9:00 a.m. EDT. If you respond substantively to my letter dated May 21, 2004
mm advance of that call, hopefully we can narrow the range of issues to be
discussed.

Very Truly Yours,

Kimberley Hams
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THE|WEXLER|IFIRM™

May 26, 2004

VIA FACSIMILE & E-MAIL

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: Inve: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Kim:

Pursuant to your request during this morning's continued meet and confer, set forth
below is plaintiffs' response to your May 21, 2004 proposal, corrections to the prior
agreements we made, and the further scope proposals you requested. I have generally
tried to follow the outline of your May 21 letter and this morning's meet and confer.

To sum up two undisputed issues, we agreed that you would provide me by Friday with
the names, designations and availability of the persons who are responsive to the topics in
the 30(b)(6) notice for which Mr. Freeberry was not the designee. We also agreed to
defer a conversation on the privilege dispute until some time next week after the
following document-related issues are resolved.

Extension of Time to Respond to the Motion to Compel

Plaintiffs will agree to a one-week extension of time to respond to the motion to compel
as AstraZeneca's ("AZ") objection regarding the time period of documents tobe
produced relates to hard copy documents. The one-week time period will provide both

parties with the opportunity to further discuss the issues set forth in your May 21
letter, my May 24 letter and today's letter.

However, as we discussed, plaintiffs will not agree to any extension as AZ's objection
relates to transactional data.

Contact Information: Elizabeth Anne Fegan One North LaSalle Street 312 346 2222
312 261 6191 Direct Dial Suite 2000 312 346 0022 fax
eafegan@wexlerfirm.com Chicago, Illinois 60602 www.wexlerfirm.com
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Ms. Kimberley Harris
May 26, 2004
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You advised me that if I did not agree to your May 21 proposal or we cannot agree to a
scope limitation on hard copy documents, you will only produce transactional data on
June 1, 2004 for the period 1997 to 2002. As I discussed with you, you have not raised
any burden or relevance issues as to transactional data in any of our meet and confers or
in any letters confirming the meet and confers. Instead, as set forth in your May 21 letter
and as you stated in today’s call, you are using the production of transactional data for the
full time period (1991-present) as a chit to trade for the non-production of hard copy

documents, such as correspondence, negotiations, etc. Plaintiffs cannot agree to such a
trade.

Index

You have advised plaintiffs that AZ has an index for documents in storage (which you
approximate is comprised of 6,000 boxes). Importantly, you have advised me that the
documents in storage are not just for the pre-1997 period but could include anything that
the company has sent off site as recently as a week ago. You have further advised me
that these indices were created by persons at the company as a way of tracking and
archiving information and were not produced by lawyers as part of this litigation.

You have requested on numerous occasions that plaintiffs formulate a proposal to limit
the burden on AZ of producing or searching all 6,000 boxes. As we have discussed and |
stated in my May 24 letter, plaintiffs request a copy of that index. As soon as the index is
provided, we will turn it around within 48 hours to identify the boxes we believe would
contain responsive information. Obviously, you may have a different viewpoint which we
could then meaningfully discuss. However, to ask plaintiffs to propose a limitation on
searching those 6,000 boxes in a vacuum when you and AZ have the index in your
possession does not move this discussion forward.

You have suggested that I provide you with search terms to search the index. As I
explained to you several times, I have no information about the words used by AZ
personnel to catalogue boxes (and you do), so I would not be able to again formulate
search terms in a vacuum.

Moreover, indices are generally not written ina "conversational" tone and thus are not
conducive to search terms, such as e-mail would be.

You have threatened several times to do a document dump of all 6,000 boxes on plaintiffs
if we do not agree to the scope limitations you have proposed. I do not believe that these
types of threats are conducive to compromise, nor do they recognize the reality of the
THE

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Ms. Kimberley Harris
May 26, 2004
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situation -- which is that an index exists that would aid both parties in greatly narrowing
the scope of production and thus the burden on AZ.

We obviously discussed all of above this morning. I asked at the end of that conversation
whether we could agree to disagree on this subject and thus agree that we had conducted
the meet and confer required by the local rules in order to bring this issue to the Court's
attention. You said no, although I am unclear why. Unless AZ agrees by Friday to
produce this index for the documents in storage, we will consider this issue to be a
disputed one to be decided by the Court.

E-Mail Search

In my May 24 letter, we proposed that AZ conduct a search of its e-mails with plaintiffs’
proposed search terms. You advised me that AZ has already conducted an e-mail search
of just its Pricing Strategy Group with different search terms. I objected to limiting the e-
mail search to just the Pricing Strategy Group and further requested that you provide me
with a copy of the search terms that AZ chose so that we can have a meaningful
discussion about the responsiveness of the search. You agreed to set out in writing the
process by which the search was conducted and the department(s) for which AZ would
conduct an e-mail search. As soon as we receive this, we can discuss this issue further.

Requests 29 and 70

As you know, Requests 29 and 70 generally request contracts for the sale of any AWPID,
together with correspondence and related negotiation/RFP material. AZ proposed to
limit AZ's response to just contracts with PBMs, retailers and wholesalers. As we
discussed, plaintiffs cannot agree to this proposal because (i) it does not encompass every
customer group with which AZ has contracts; and (ii) does not include the full scope of
correspondence and other related material requested. You thus requested that plaintiffs
formulate a proposal.

Plaintiffs propose as follows: For each customer category, provide documents related to
the “top 50,” “middle 50,” and “bottom 50” customers in terms of aggregate annual sales
dollars. Obviously, the companies that fit one of these profiles may differ by year;
plaintiffs’ proposal would require that the responsive documents be produced for all
customers that fall within one of those categories in any relevant year. For the PBMs,
contracts and all related documents as set forth in the requests with AdvancePCS,
Caremark, Express Scripts, Medco and their predecessor entities would suffice. For
wholesalers, contracts and all related documents as set forth in the requests with
McKesson, AmerisourceBergen and Cardinal will suffice. This should be a fair initial
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Ms. Kimberley Harris
May 26, 2004
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limitation that will ease the burden on scope of the documents that must be retrieved and
produced and will provide a broader cross section of evidence.

Plaintiffs’ proposal is not a waiver of our right to request additional responsive documents
from any of these customer groups.

Group/Department Files to be Searched

We generally agreed that AZ's search for responsive documents would be limited to the
Managed Markets/Pricing Strategy Group, subject to confirmation at the 30(b)(6)
deposition. As we discussed this morning, we found at Mr. Freeberry's deposition last
week (as stated in my May 24 letter) that this may not be sufficient because of line
reporting and approval processes through which decisions are made.

You intimated that perhaps I was confused about the hierarchy at the company. I
suggested that the simple production of the organizational charts (in response to Requests
Nos. 2 and 20) that Mr. Freeberry testified exist on AZ's intranet under the Human
Resources/Personnel Department would obviate your stated frustration with my
purported lack of knowledge. Moreover, as defendants (and you specifically) requested in
the meet and confers on plaintiffs' productions, production of these charts and
identification of the persons who hold the relevant positions would, perhaps, allow for a
more focused discussion and agreement among us. You balked at this suggestion,
stating that I should know enough about the company by now from Mr. Freeberry's
deposition and the production of the Zoladex documents. However, what both have
taught me is that there are other groups/departments/teams/committees above the
Managed Markets/Pricing Strategy Group that have information specifically responsive

to plaintiffs’ requests. Let's find a way to identify those from the organizational charts and
move forward.

Miscellaneous Requests

¢ Request 3: We will agree to limit the response to this request to any company,
organizational and policy information relevant to this litigation.

e Request 4: Plaintiffs will not agree to the limitation proposed. There certainly is
no burden on AZ to produce documents sufficient to identify its electronic mail,
document management and other automated information systems. Moreover, the
standard only requires that the request identify documents that are likely to lead to
the discovery of admissible evidence, which standard is certainly met here --
particularly where AZ's production to date has been in electronic form in its
entirety.

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Ms. Kimberley Harris
May 26, 2004
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Request 28: Contrary to your May 21 letter, I have never agreed to limit the
production of documents in response to Request no. 28 to the WAC and AWP
published in First _DataBank only. Moreover, I never agreed to limit the
production of documents related to ASP to those outside the new Medicare
regulations. The only discussions we have had focused on which pricing
terms you believed were actually used by AZ and which were not. Plaintiffs
request for documents responsive to no. 28 stands as written.

Request 31: You state that, with respect to Request 31, plaintiffs agreed to
reserve our demand for these documents. To be clear, I agreed to reserve this
demand based on your stated belief that the annual strategic plans for each of the
AWPIDs would contain the information sought by these requests. If the plans do
not, then AZ must otherwise produce documents responsive to this request.
Requests 32 and 34: AZ has agreed to produce documents related to, inter alia,
the cost, profit and revenue for its AWPIDs only if that information exists in the
Managed Markets/Pricing Strategy Group's documents. Plaintiffs cannot agree to
such a limitation. AZ cannot hide the ball if this information is kept/maintained
elsewhere and should be produced regardless of which department maintains and
tracks this core information.

Request 35: We agreed that AZ agreed to produce documents relating to spread
between any two price points for a single drug.

Requests 37 and 79: I agreed that these two requests are duplicative with respect
to PBMs only, but not with respect to wholesalers, retailers or any other customer
that may receive the incentives outlined.

Requests 38, 39, and 40: Requests 38, 39 and 40 request all documents related
to credit memos. You propose to just produce the transactional data which will
include "line-item credit information". This proposal is too narrow. Based on the
allegations of the AMCC, the parties will need to explore, inter alia, the reasons
behind why a credit memo is being issued, how it was calculated, how it is
characterized (e.g., rebate, administrative fee, chargeback, returned goods, etc.).
Credit memos can be used for various reasons, some of which may or may not
relate to inflated AWPs, e.g., returned goods. Accordingly, it is important for
both parties to know exactly what the credit memo represents to AZ and the
customer. The data and the line item will not explore this background
information. Accordingly, plaintiffs propose that AZ produce documents
sufficient to demonstrate the background and purposes for each line item credit.

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Ms. Kimberley Harris
May 26, 2004
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As I advised you this morning, I am in California for a deposition, but will be available
this evening by cell phone and, as always, by e-mail. Also, tomorrow morning, I have a

12:45 p.m. EDT flight home, so can be available early to speak again by cell phone if
need be.

Sincerely,
Elizabeth Anne Fegan
EAF: lyr

ce. Scott Wise, Esq. (via facsimile & e-mail)
Plaintiffs’ Co-Lead Counsel (via e-mail)
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Exhibit 7
Case 1:01-cv-12257-PBS Document 952-13 Filed 08/04/04 Page 87 of 98 CB

06/01/04

THE|WEXLER|FIRM™

June 1, 2004

VIA FACSIMILE and VERILAW

Mr. Scott Wise

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: Inre: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Scott and Kim:

Tam writing regarding AstraZeneca’s (“AZ”) failure to comply with paragraph 4 of CMO
No. 10, in responding to Plaintiffs’ Omnibus Requests for Production and Interrogatories
(“Responses”). As you know, paragraph 4 requires that “[a] responding party to an initial
document request shall complete production of all documents within sixty (60) days of
service of such request.” While we understand that we have been engaged in meet and
confers, the fact that AZ has yet to produce any documents’ in compliance with CMO
No. 10 fails to at least comply with the spirit, if not the letter, of the Court’s Order.

In fact, Kim and I have formally met and conferred on at least four occasions by
telephone and have exchanged no less than eight letters regarding the scope of the
Omnibus Requests. During none of those has AZ maintained a blanket objection to the
production of documents. However, despite the fact that paragraph 4 of CMO 10 requires
that “undisputed documents shall be produced within 60 days,” AZ has yet to produce a
single responsive document to CMO No. 10. Surely AZ cannot maintain that there are
not any “undisputed documents.”

Further, AZ has maintained that, once it starts producing documents (for which AZ has
not given us a firm date), it will engage in a rolling production every three weeks. As I
have told Kim numerous times, this is not practicable or acceptable given the fact that,

"It is unclear whether AZ intends to produce electronic transactional data today. As of the time this letter
was sent, plaintiffs have not received any transactional data responsive to the Omnibus Requests. Even if
AZ had produced transactional data today however, AZ would nonetheless be in violation of CMO No. 10
and plaintiffs’ position set forth in this letter would remain unchanged.

Contact Information: Elizabeth A. Fegan Ona North LaSalle Street 312 346 2222
312 261 619% Direct Dial Suite 2000 312 346 0022 fax
eafegan@wexlerfirm.com Chicago, Illinois 60602 www.waxlerfirm.com
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06/01/04

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Mr. Scott Wise

Ms. Kimberley Harris
June 1, 2004

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per CMO No. 10, plaintiffs’ motion for class certification is due in just 90 days on
September 3, 2004. Obviously, the Court’s class deadline assumed that defendants would
comply with paragraph 4 of CMO No. 10. AZ’s failure to do so appears to be an attempt
to seriously hinder and prejudice plaintiffs’ position.

cc. All Counsel of Record (via Verilaw)
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Exhibit 8
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE

LITIGATON MDL No. 1456

THIS DOCUMENT RELATES TO

)

)

)

)

) Civil Action 01-CV-12257-PBS
)

) Judge Patti B. Saris

)

DECLARATION OF ELIZABETH A. FEGAN
PURSUANT TO LOCAL RULE 37.1

I, Elizabeth A. Fegan, certify that I complied with Local Rule 37.1 as follows:

1. Iam one of the Plaintiffs’ lawyers in the above-captioned case. I personally have
been responsible for engaging in discovery conferences with counsel for
AstraZeneca regarding AstraZeneca’s Responses to Plaintiffs’ Omnibus Requests
for Production and Interrogatories (“Responses”).

2. On May 14, 2004, I engaged in an extensive discovery conference with Kim
Harris via telephone. This telephone conference was a continuation of previous
meet and confers in which Ms. Harris and I had engaged regarding AstraZeneca’s
Responses to the Omnibus Requests.

3. During this May 14 conference, Ms. Harris advised me that AZ has an index for
documents in storage (of which she approximated at least 6,000 boxes could be
composed of documents responsive to the Omnibus Requests). Ms. Harris further
advised me that the documents AZ maintains in storage are not just for the period
prior to 1997, but could include documents that AZ sent off site as recently as a

week ago. Ms. Harris further advised me that these indices were created by
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persons at the company as a way of tracking and archiving information and were
not produced by lawyers as part of this litigation.

4. During this May 14 discovery conference and in discovery conferences held by
telephone on May 25, 2004 and May 26, 2004, and in letters I sent to Ms. Harris
on May 24, 2004 and May 26, 2004, I have repeatedly asked that AZ produce this
index.

5. In fact, Ms. Harris has requested on numerous occasions that plaintiffs formulate
a proposal to limit the burden on AZ of producing or searching all 6,000 boxes.
Among other things, I specifically suggested to Ms. Harris that AZ produce the
index of boxes, at which time plaintiffs’ counsel would review it and return it to
Ms. Harris within 48 hours to identify the boxes plaintiffs believe would contain
responsive information. As I explained to Ms. Harris, to ask plaintiffs to propose
a limitation on searching those 6,000 boxes in a vacuum when she and AZ have
the index in their possession does not move the discovery disputes towards
resolution in any meaningful manner.

6. Ms. Harris did suggest that I provide AZ with search terms to search the index.
However, I told Ms. Harris that plaintiffs have no information about the words
used by AZ personnel to catalogue boxes, so I would not be able to formulate
search terms in a vacuum. Moreover, indices are generally not written in a
"conversational" tone and thus are not conducive to search terms, such as e-mail
would be.

7. During the oral discovery conferences and in at least one letter to me, Ms. Harris

threatened several times to do a document dump of all 6,000 boxes on plaintiffs
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if we did not agree to the scope limitations proposed by AZ without a copy of the
index. I have repeatedly advised Ms. Harris that these types of threats are not
conducive to compromise, nor do they recognize the reality of the situation --
which is that an index exists that would aid both parties in greatly narrowing the
scope of production and thus the burden on AZ.

I advised Ms. Harris orally on May 26, 2004 and in my letter to her dated May 26,
2004 that if AZ did not produce the index by Friday, May 28, 2004 that we would
consider this issue a disputed one to be decided by the Court.

As of June 1, 2004, AstraZeneca had not yet produced a single document in

response to the Omnibus Requests as required by CMO No. 10.

10. Between June 1, 2004 and August 1, 2004, other than transactional data, AZ

11.

produced just four computer disks of documents: one on June 14 of inadvertently
omitted images from previous production; two on June 24; and one on July 15.
AZ also made 78 boxes of documents available for inspection at a warehouse in
Wilmington, Delaware.

Of those 78 boxes, 27 boxes — or 35 percent of the production —contained direct to
consumer advertising materials or physician promotional materials for pharmacy-
dispensed drugs. We were surprised by the production of these documents
because in the numerous oral meet and confers and discovery dispute letters
between Ms. Harris and me, Ms. Harris proposed and I agreed that AZ would not
produce documents in these categories because it would be a waste of both

parties’ time.
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12. Of the remaining 51 boxes, 11 boxes — or 22 percent of the purportedly
responsive information — were comprised in large part of scientific journals and
studies regarding strokes and asthma, non-pricing market research for pharmacy-
dispensed drugs, and additional direct to consumer advertising materials or
physician promotional materials for pharmacy-dispensed drugs. Again, these
types of documents were never part of the scope of documents that plaintiffs and
AZ agreed would be produced.

13. On August 2, 2004, AstraZeneca produced more than 59,000 pages. AstraZeneca

did not produce an index with these documents.

FURTHER AFFIANT SAYETH NOT.

Dated: August 2, 2004
Elizabeth A{ Kegan
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Exhibit 9
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07/23/04

6:00 PM ET
Niro wer

THE|WEXLER|FIRM™

June 1, 2004

VIA FACSIMILE and VERILAW.

Mr. Scott Wise

Ms. Kimberley Harris
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

RE: In re: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Scott and Kim:

I am writing regarding AstraZeneca’s (“AZ”) production of documents since my letter
dated June 1, 2004 at which time AZ had yet to produce any documents in compliance
with CMO No. 10 or responsive to plaintiffs’ requests for production.

Since June 1, 2004, AZ has produced virtually no documents responsive to plaintiffs’
requests for production or relevant to the parties’ claims and defenses. In fact, other than
transactional data, AZ has produced just four disks (one on June 14 of inadvertently
omitted images from previous production; two on June 24; and one on July 15) and made
78 boxes of documents available for inspection.

Of those 78 boxes, 27 boxes — or 35 percent of the production ~ were completely
worthless. Those 27 boxes contained direct to consumer advertising materials or
physician promotional materials for pharmacy-dispensed drugs. In our numerous oral
meet and confers and discovery dispute letters, Kim proposed and agreed that AZ would

not produce documents in these categories because it would be a waste of both parties’
time. Indeed, it was.

Moreover, of the remaining 51 boxes, 11 boxes — or 22 percent of the purportedly
responsive information — were comprised in large part of scientific journals and studies
regarding strokes and asthma, non-pricing market research for pharmacy-dispensed
drugs, and additional direct to consumer advertising materials or physician promotional
materials for pharmacy-dispensed drugs. Again, these types of documents were never
part of the scope of documents that plaintiffs and AZ agreed would be produced.

Contact Information: Elizabeth A, Fegan One North LaSalle Street 312 346 2229
312 261 6191 Direct Dial Suite 2000 312 346 0022 fax
eafegan@wexlerfirm.com Chicago, Iifinols 60602 www.wexlerfirm.com
THE

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WEXLER/FIRM™

Mr. Scott Wise

Ms. Kimberley Harris
July 23, 2004

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AZ promised that production would be completed by July 31, 2004. Based on the lack of
production to date, AZ apparently intends to dump documents on plaintiffs at the last
minute. This would be a direct violation of CMO No. 10 and AZ’s agreements with
plaintiffs. Moreover, as I have told Kim numerous times, this is not practicable or
acceptable given the fact that, per CMO No. 10, plaintiffs’ motion for class certification
is due on September 3, 2004.

This issue must be resolved immediately. Ken and J are available any time next week to

have a meet and confer on the discovery issues that are outstanding, as well as the
volume and timing of AZ’s remaining production. Please let us know your availability.

Sincerely,
Elizabeth A-Fegan

EFH:lyr

cc. All Counsel of Record (via Verilaw)

VS

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Exhibit 10
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HONG KONG

July 30, 2004

Re: In re Pharmaceutical Industry Average Wholesale Price Litigation
MDL No. 1456

Elizabeth A. Fegan, Esq.
The Wexler Firm

One North La Salle
Suite 2000

Chicago, IL 60602

Dear Ms. Fegan:

On behalf of our client, AstraZeneca Pharmaceuticals LP, enclosed please
find eight CD-ROMs containing .tif images of documents bearing the bates
numbers AZ,0492928 to AZ0547537, in partial response to Plaintiffs’ Omnibus
Requests for Production and Interrogatories. Also included is a CD bearing DII
format load files. These documents are being produced in accordance with the
terms of the Protective Order entered by the Court in December 2002.

This production represents AstraZeneca’s fourth production in a series of
rolling productions in response to the Omnibus Requests. As required by CMO
10, we anticipate providing a privilege log within 14 days.

Sincerely,

Monica Lamb

Enclosure
